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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

MICHAEL BURROWS, an Individual.
Plaintiff,

ORCHID ISLAND TRS, LLC, successor
to OPTEUM FINANCIAL SERVICES,
LLC;

GOLDEN VALLEY LENDING GROUP,
INC., a California corporation;

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§
FIRST NLC FINANCIAL SERVICES, )
LLC, also known as THE LENDING )
CENTER; )
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CHRISTINE R. SMITH, an Individual; )
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and DOES 1-25, inclusive, )
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Defendants.

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cASE No.: ’07 CV 1 50 7 BEN wmc)

COMPLAINT FOR:

Violation of the Truth in Lending Act, 15
U.S.C. § 1601 et seq., and Federal Reserve
Regulation Z, 12 C.F.R. § 226 et seq.; __
Violation of the Real Estate and Settlement
Procedures Act, 12 U. S. C. §2601 et seq. and
Federal Reserve Regulation X, 24 C F. R. §
3500 et seq. ,

Violation of California Civil Code §§ 1920
and 1921;

Violation of the Unfair Competition Act,
California Business and Professions Code §
17200 et seq.;

Violation of the False Advertising Act,
California Business and Professions Code §
17500 et seq.;

Constructive Fraud, California Civil Code §
1573;

Intentional Misrepresentation, California Civil
Code §§ 1709 and 1710;

Concealment, California Civil Code §§ 1709
and 1710;

Negligent Misrepresentation, California Civil
Code §§ 1709 and 1710;

Violation of California Civil Code § 1711 -
Fraud on the Public;
Rescission/Cancellation, California Civil
Code § 1689 & Court’s Inherent Equitable

 

COMPLAINT ON PREDATORY LENDING AND ILLEGAL KICKBACKS
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Authority;

12. Breach of Fiduciary Duty;

13. Negligence;

14. Breach of Implied Covenant of Good Faith
and Fair Dealing;

15. Intentional Infliction of Emotional Distress.

JURY TRIAL DEMANDED

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Come now Plaintiff, and demanding trial by jury, complain and allege upon information and

belief as follows:
I.
INTRODUCTION

1. This case is illustrative of considerable mortgage broker misconduct, as well as
complicity of the residential real estate industry. In April of 2004, Plaintiff MICHAEL BURROWS
(“Plaintif`f”) purchased a homel in San Diego by depositing a down-payment of $35,000.00 of his own
savings, and financed the $295,000.00 balance with first and second mortgages at 4.757% and 4%
respectively. In December 2006, Mr. Burrows’ combined monthly mortgage payments totaled
$1,278.00, and after almost three years of making timely payments Mr. Burrows’ mortgage payoff
amount was $280,828.00. [Attachment N] That same month, Def`endants, in this here Complaint,
targeted Mr. Burrows with advertisement flyers and promises of refinancing Mr. Burrows’ mortgage
and matching Mr. Burrows with the best possible interest rate. Mr. Burrows telephoned Defendants
and unequivocally indicated he was only interested in finding a loan product to refinance his home if
the loan would; (1) save him money, and (2) fix the interest rate to his mortgage for thirty (30) years
(hereinafter “30-YEAR FIXED”).

2. This Complaint for damages, restitution, injunctive and declaratory relief illustrates how
Defendants exploited Mr. Burrows’ trust and confidence as an opportunity to convert Mr. Burrows’

home into a cash cow, and milk the equity out of his home and hard-earned income for a generation of

 

‘ The property subject to the loans and loan transaction referenced herein is located at 4255 33"i Street, #6, San Diego,
California 92104.

 

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years to come. As will be further discussed, by employing slight of hand tricks, bait and switch tactics,
inflated claims, and loan falsifications, Defendants churned Mr. Burrows through a financial “spin”
cycle. Specifically, even with Mr. Burrows’ having a near “800” credit score [Attachment M],
Defendants placed Mr. Burrows into a 5-Year negative amortization, adjustable rate mortgages at
7.94% and 10.36%, respectively, with prepayment penalties (hereinafter “OPTEUM/OIT loans”).
Moreover, after Defendants’ charging of excessive, duplicative, unearned fees, and illegal kickbacks,
Mr. Burrows now finds himself with finance charges totaling more than $570,000.00 throughout the
course of the life of the mortgages

3. A simple side-by-side comparison of Mr. Burrows’ prior mortgages, and Defendants’
loan products illustrates how each and every party to this faulty loan transaction directly benefited
from the loan transaction, except for Mr. Burrows. l

4. Defendants’ motivation, and each of them, was to collect approximately $17,000.00
from Plaintiff’s equity in his home based on points, yield spread premiums (“YSP”), commissions,
fees, premiums, junk fees. On an approximately $282,000.00 loan, which is what Plaintiff received

from Defendants, the U.S. National average percentage of total fees to loan value would be

 

approximately $5,190.00_or 1.84% of fees to loan value. [Source, Bankrate.com, Julv 2007.]

5. Defendants, and each of them, employed predatory lending practices with regard to
Plaintiff in the advertisement, solicitation of bad loan products, misrepresentation, and unlawful
facilitation of the loan transaction

6. Predatory and abusive lending practices inflict a wide-ranging damage lon society:
borrowers and their families can be devastated by these practices, which often result in non-judicial
foreclosure of the borrowers’ homes. Defendants in this action preyed upon Plaintiff, who believed
Defendants to have acted in Plaintiff’s best interest. Plaintiff seeks rescission of the predatory loans in
which he is trapped, equitable relief on behalf of the general public, and monetary damages. This is an
action for declaratory judgment, permanent injunctive relief, and damages for predatory mortgage
lending. Punitive damages and treble damages are also sought as applicable to make an example out of
these predatory Defendants.

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II.
JURSIDICTION AND VENUE

7. Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. § 1331 in that the claims
alleged herein arise under the laws of the United States. This Court has supplemental jurisdiction
pursuant to 28 U.S.C. § 1367 to hear and determine Plaintiff` s state law claims because those claims
are related to Plaintiff’ s federal claims and arise out of a common nucleus of related facts and form
part of the same case or controversy under Article III of the United States Constitution.

8. The Court has jurisdiction over Plaintiff’s action for declaratory relief pursuant to 28
U.S.C. § 2201 and Rule 57 of the Federal Rules of Civil Procedure. Injunctive relief is authorized by
28 U.S.C. § 2203 and Rule 65 of the Federal Rule of Civil Procedure.

9. Venue is proper in the Southern District of California pursuant to 28 U.S.C. §
1391(b)(2) in that the unlawful conduct that gave rise to these claims occurred within the Southern
District of California.

III.
DEFENDANTS ARE PREDATORY LENDERS AND BROKERS

10. v There is no uniformly accepted definition of “predatory lending.” However, the United
States Department of Housing and Urban Development (“HUD”) has defined predatory lending as
lending “involving deception or fraud, manipulation of borrowers through aggressive sales tactics, or
taking unfair advantage of a borrower’s lack of understanding about loan terms.” Curbz'ng Predatory
Home Mortgage Lending (June 2000), a joint report of the Department of Housing and Urban
Development and the Treasury Task force on Predatory Lending (“HUD report”) at 1. According to
HUD, “[t]hese practices are often combined with loan terms that, alone or in combination, are abusive
or make the borrower more vulnerable to abusive practices.” Ia'.

11. HUD and the United States General Accounting Office (“GAO”) have identified
various lending practices as predatory. Since predatory lenders are constantly developing new
techniques to take advantage of borrowers, any enumeration of predatory practices necessarily will be
incomplete Nevertheless, it is generally accepted by the lending industry and government agencies

that monitor that industry that predatory lending practices include: (a) engaging in aggressive, high-

 

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pressure and/or misleading sales tactics; (b) lending without regard to the borrower’s ability to repay;
(c) imposing excessive prepayment penalties that trap borrowers into predatory loans; (d) making
representations or to otherwise misleading borrowers about loan terms; (e) falsifying loan documents;
(f) targeting low-income, elderly and minority borrowers for predatory lending campaigns; (g)
charging excessive fees, points and interest rates unrelated to the borrowers for predatory lending
campaigns; (g) charging excessive fees, points and interest rates unrelated to the borrower’s credit/risk
profile; (h) misleading borrowers about the borrower’s credit/risk profile to steer borrowers to a
higher-cost loan that is not justified by the borrower’s true profile; and (i) causing borrowers to
refinance loans multiple times over a short period of time without any economic gain to the borrowers.
HUD Report at 2; Federal and State Agencz'es Face Challenges in Combating Predatory Lending
(January 2004), a report by the United States General Accounting Office (“GAO”) Report at 3-4, 18-
19. These and similar practices, individually and collectively, are referred to herein as “predatory
lending” practices Defendants engaged in manv of the above practices toward Mr. Burrows.

12. Predatory lenders frequently deceive borrowers and engage in outright fraud through
practices such as falsifying loan applications GAO Report at 19. The elderly are primary targets and
victims of predatory lending practices. Predatory lenders prey on the elderly who are financially
unsophisticated and/or lack access to mainstream financial outlets, HUD Report at 22; GAO Report at
25. Defendants engaged in this practice toward Mr. Burrows.

13. Predatory lending practices often lead homeowners into a cycle of refinancing,
foreclosure, economic ruination and segregation from conventional credit sources. HUD Report at 87.
On a larger scale, when predatory lending practices are concentrated in specific areas-as they
frequently are_communities suffer from destabilization through the loss of equity, distressed and
vacant properties, and stifled economic development GAO Report at 20. This causes a depression in
property values and requires entire neighborhoods to pay the price for the wrongful practices of
unscrupulous lenders. n

14. Subprime lending, which may be a form of predatory lending, is a rapidly growing
segment of the mortgage market which generally consists of borrowers who, for a variety of reason,

might be denied access to market-fair credit due to their perceived “credit risk.” A typical borrower in

 

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the subprime mortgage market is a “house-rich” but “cash-poor,” having built up equity in his home
but in little else, and has a lower net income than the average borrower. Subprime lenders generally
charge somewhat higher interest rates to account for the increased “credit risk” associated with these
loans There is no great capital risk to subprime lending because lenders have their money secured by
the real estate, and in general do not lend above 70% of the appraised value to ensure repayment of
the principal of the loan as well as coverage for any foreclosure cost. If Lenders do lend at a higher
loan to value figure, the lenders can always demand mortgage insurance from the borrower. Mr.
Burrow’s credit scores have a range of 767-795 on an 850 scale. [Attachment M]

15. However, unscrupulous lenders/brokers have up-played the “credit risk” argument in
the subprime market to justify engaging in predatory lending which is nothing less than an attempt to
steal as much money as possible from the equity in a borrower’s home, and this includes designing a
transaction which will intentionally lead to a refinancing and/or foreclosure on the borrower’s home.
rl`hese lenders/brokers are called predatory because they prey on financial nai've borrowers who are
cash poor but equity rich. The Defendants in this Complaint are predatory lenders and brokers

16. A predatory mortgage broker acts as the agent of the lender and abandons his fiduciary
duty to the buyer. The predatory mortgage broker “preys” on the borrower to take as much money in
fees, costs, commissions as possible from the equity in the borrower’s home. Predatory lenders engage
in the same conduct and/or adopt a closed eye posture to the predatory mortgage broker’s forged
applicants’ data on loan applications

17. Plaintiff alleges that Defendants, and each of them, train their employees/agents to lure
borrowers with promises-that their loans will have certain terms and conditions, knowing Defendants
have no intent of providing such loans, and then use slight of hand shuffling tactics, high-pressure sales
tactics, or outright fraud to induce borrowers to sign loan contracts with significantly less favorable
terms and conditions. Plaintiff alleges Defendants failed to provide required disclosures, failed to
leave a true copy of loan documents in borrowers’ possession, unlawfully induced borrowers to enter
into mortgages knowing that borrowers will not be able to meet the monthly mortgage payments based
on their monthly income or where excessive or unfair fees are levied, that mortgage salespeople and

brokers forged applicants’ data on loan applications

 

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IV.
PARTIES

18. Plaintiff, MICHAEL BURROWS (hereinafter “Plaintiff”) was at all relevant times
mentioned herein a resident of San Diego, California.

19. Plaintiff is informed and believes and thereon alleges that Defendant OPTEUM
FINANCIAL SERVICES, LLC (hereinafter “OPTEUM”) is a Delaware limited liability company
doing business in the State of California with a local address at 2020 Camino Del Rio N, Suite 300,
San Diego, CA 92108. Plaintiff is further informed and believes OPTEUM is not duly registered as a
limited liability company in the State of California.

20. Plaintiff is informed and believes and thereon alleges that Defendant ORCHID
ISLAND TRS, LLC (hereinafter “OIT”) is a Delaware limited liability company doing business in the
State of California. Plaintiff is further informed and believes that on July 3, 2007, Defendant
OPTEUM changed its name to ORCHID ISLAND TRS, LLC.

21. Plaintiff is informed and believes and thereon alleges that Defendant GOLDEN
VALLEY LENDING GROUP, INC. (hereinafter “GOLDEN VALLEY”) is a corporation doing
business in the State of California with a local address of 830 East Vista Way, # 119, Vista, CA 92084.

22. Plaintiff is informed and believes and thereon alleges that Defendant FIRST NLC
FINANCIAL SERVICES, LLC, Plaintiff is informed and believes that Defendant FIRST NLC
FINANCIAL SERVICES, LLC also does business under the name THE LENDING CENTER
(hereinafter “LENDING CENTER”) and that LENDING CENTER is a retail division of First NLC
Financial Services, LLC with a local office address of 5963 La Place Court, #110, Carlsbad, CA.

23. Plaintiff is informed and believes and thereon alleges that Defendant Christine R. Smith
(hereinafter “SMITH”) is a San Diego resident, and was at all relevant times herein mentioned an
owner, agent and/or employee of the corporate Defendants, Plaintiff is further informed and believes,
and thereon alleges, that at all relevant times herein Defendant SMITH engaged in the deceptive acts
and practices which will be alleged below while acting within the scope of this employment with the

corporate Defendants. Defendant SMITH’s last known address is 1510 South Coast Highway,

 

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Oceanside, CA 92054. Based on information and belief, Defendant GOLDEN VALLEY has fired
Defendant SMITH.
24. At all times mentioned in the causes of action alleged herein, each and evei_'y

Defendant was an a ent and/or em lo ee of each and eve other Defendant. In doing the things

 

alleged in the causes of action stated herein, each and every Defendant was acting within the course
and scope of this agency or employment and was acting with the consent, permission and authorization
of each of the remaining Defendants, or otherwise acting with apparent authority. All actions of each
Defendant as alleged in the causes of action stated herein were ratified and approved by every other
Defendant or his officers or managing agents Defendant knowingly and substantially participated in
the conduct as alleged herein.

25. Defendants, LENDING CENTER/GOLDEN VALLEY/SMITH, and each of themz
functioned as agents of OPTEUM/OIT who was the lender and LENDING CENTER/GOLDEN
VALLEY/SMITH abandoned their fiduciary d_uties to Plaintiff. Defendants, LENDING
CENTER/GOLDEN VALLEY/SMITH, and each of them, committed fraud regarding Plaintiff in
terms of procuring his loan.

26. At all times herein in relevant, there existed a civil conspiracy between Defendants, and
each of them, the object of which was to reap substantial profits by targeting Plaintiff, and those
similarly situated, to engage in transactions which were not for Plaintiff s benefit so as to increase fees
and commissions for the sale of unsuitable mortgages and thereafter seek to profit by foreclosure or
refinancing on Plaintiff s equity in his home. Said conspiracy also included a common plan or design
to falsify the loan applications to obscure the terms of the loan applications and to mislead and deflect
any questions or complaints raised by Plaintiff regarding his loan applications

27. When this Complaint references any act of any Defendant or Defendants, such
allegation shall be deemed to mean the act of those Defendants named in the particular cause of action
and each of them acting, individually, jointly and severally.

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V.
“DEFENDANTS’ 2-PART
DECEPTIVE ACTS AND PRACTICES PREDATORY LENDING SCHEME”

28. Mr. Burrows hereby repeats and incorporates by this reference the allegations of all
preceding paragraphs of this Complaint as though fully set forth herein.

29. Plaintiff purchased his home, as alleged above, in April 2004 with a $35,000.00 down-
payment of his own savings, and a lSt and 2nd mortgage which totaled approximately $295,000.00.

30. In December 2006, Defendants engaged in their conduct as alleged herein without even
being present at the closing of Defendants’ LOANS. Defendants never sat down with Mr. Burrows
and explained what they were doing, what the risks were, and what the document terms meant.
Defendants abandoned their fiduciary duties to Mr. Burrows

Part I:With knowledge that Plaintiff only wanted to refinance his home with a 30-YEAR

FIXED mortgage, Defendants promised to provide exactly that, and presented
Plaintiff with a 30-YEAR FIXED mortgage at 6.30% as a decoy, but Defendants
had no intention of selling that loan to Plaintiff.

31. ln or about December 2006, Defendants targeted Plaintiff’s home with advertisement
flyers soliciting opportunities to refinance home loans and lower monthly mortgage payments
Plaintiff, thereafter responded to Defendants’ advertising campaign, and spoke directly with Defendant
CHRISTINE SMITH (hereinafter “SMITH”) who works for Defendants as a salesperson.

32. During Plaintiff’s initial conversation with Defendant SMITH, Plaintiff made clear that
he only wanted a 30-YEAR FIXED”. Defendant SMITH affirmed Plaintiff’s desires and proceeded to
take Plaintiff’ s personal financial information over the phone.

33. A few days after this conversation, Plaintiff received a call from an individual named
Damien Mikkelsen, who stated that he worked for (Defendant) LENDING CENTER, and with
SMITH. Mr. Mikkelsen requested further information from Plaintiff for the purposes of completing a
loan application for a 30-YEAR FIXED loan. Based upon information and belief, Plaintiff alleges that
the personal information provided to SMITH and Mr. Mikkelsen was used in completing a loan

application for a 30-YEAR FIXED loan [Attachment A].

 

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34. On or about December 19, 2006, Mr. Mikkelsen, with SMITH’S assistance, prepared a
“1003” or a Uniform Residential Loan Application (hereinafter “APPLICATION”) on behalf of
Plaintiff to obtain financing for a 30-YEAR FIXED loan. [Attachment A] The 30-YEAR FIXED
loan APPLICATION identifies Plaintiff`s income as “$3,200” per month. [Attachment A at 2] Soon
thereafter, Plaintiff received, as required by law, a Good Faith Estimate (“GFE”) and Truth in Lending
Act (“TILA”) disclosure in regards to the 30-YEAR FIXED loan [Attachment B]. The TILA
disclosure identifies the annual interest rate associated with the 30-YEAR FIXED loan was 6.30%, and
that payments would be fixed at $1,798.65 per month [Attachment B at 2]. The GFE and TILA
disclosures were both dated December 20, 2006,

35. After receiving the 30-YEAR FIXED loan GFE and TILA disclosures, Defendant
SMITH telephoned Plaintiff to tell him that based upon his income, he would not be able to qualify for
a 30-YEAR FIXED loan. Plaintiff was confused because each of Defendant SMITH’s prior
communication expressed intent to find Plaintiff a 30-YEAR FIXED loan.

36. lt was not until January 24, 2005, that Defendant SMITH telephoned Plaintiff stating
that she discovered the “perfect” loan for him, that Plaintiff would receive $5,000.00 in cash as a
rebate from the loan, and that a notary Would be visiting Plaintiff’s home the next day, which was
Thursday, January 25, 2007. Plaintiff was further confused in that he recalled that one month earlier
he assisted SMITH and Mr. Mikkelsen in providing personal information needed to apply for the 30-
YEAR FIXED loan and that he also received the GFE and TILA disclosures Plaintiff still believed
Defendant SMITH Would find Plaintiff a fixed-interest rate loan. At the time Defendant SMITH called
Plaintiff, SMITH was brief and provided absolutely no details of, either, the loans offered to
Plaintiff; the closing fees or costs associated with the loans,' or any of the documents which
Plaintiff was to sign when the notary arrived at his home.

Part Z:Defendants solicitation and promise to obtain a 30-YEAR FIXED loan for Plaintiff
was a fraud, and Defendants further falsified Plaintiff’s loan APPLICATION to
obtain for Plaintiff an unbelievably more expensive and unaffordable loan.

37. At approximately 8:00 p.m. on January 25, 2007, Jessica Graf, a notary public, arrived

at Plaintiff’s home, Defendant SMITH did not come to Plaintiff s home and was not present at the

 

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time Plaintiff signed the loan closing documents Ms. Graf2 brought with her, a stack of documents
Neither Ms. Graf, nor Defendant SMITH, informed or explained the specific content or details of these
documents Ms. Graf instructed Plaintiff to sign all the documents according to SMITH’s instructions
Defendant SMITH affixed instructions to the first page of a set of documents which instructed Plaintiff
to “Date these 12/13/06.” [Attachment C]

38. Plaintiff immediately telephoned SMITH to question her concerning the contents of the
documents and also the details of the loan terms offered to Plaintiff. Defendant SMITH insisted and
counseled Plaintiff that these loans were “perfect” for Plaintist situation, and that Plaintiff should
remember to back-date those documents she identified Plaintiff trusted SMITH and believed
Defendant SMITH represented Plaintiff’s best interests and so he did as SMITH instructed

39. During Plaintiff’s signing of loan closing documents Plaintiff telephoned SMITH again
with additional questions Defendant SMITH was completely unreachable during the signing of the
loan closing documents Plaintiff then directed his questions to Ms. Graf, but Ms. Graf refused to
answer his questions and further stated that she was not aware of its contents Ms Graf insisted that
Plaintiff should just sign the documents t

40. Defendants failed to inform Plaintiff that he did not have to enter into these loans.

41. After signing the loan closing documents and the set of documents which SMITH
instructed Plaintiff to back-date, Ms. Graf prepared to leave Plaintiff"s home with aj of the documents
Plaintiff inquired whether he was supposed to keep a copy of the documents he signed. Ms. Graf,
apparently surprised, stated that it was strange, but that there were no copies for Plaintiff.
Consequently, Ms. Graf, left Plaintiff"s home taking with her each and every document.

42. During the course of more than two weeks after Plaintiff signed the loan closing
documents Plaintiff repeatedly attempted to contact Defendant SMITH regarding loan terms and the
promised cash rebate, but SMITH was completely unreachable. Finally, on February 15, 2007,
SMITH emailed Plaintiff that she was having trouble with her phone. [Attachment G]

 

2 Plaintiff is informed and believes that Jessica Graf is a notary public who works for Defendant GOLDEN VALLEY.

 

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43. Plaintiff’s Right to Cancel. Defendants failed to provide Plaintiff with copies of any
closing documents `on January 25, 2007-the date Plaintiff signed loan closing documents Plaintiff
was entitled to receive copies of at least, the Notice of Right to Cancel, the TILA disclosure statement,
and HUD Settlement Statement. Instead of leaving a copy with Plaintiff, on or about January 26,
2007, Defendants mailed a copy of Plaintiff’s loan closing documents to Plaintiff’ s parent’s address
[Attachment D] Because Defendants mailed a copy of loan closing documents to Plaintiff’s parent’s
address Plaintiff did not receive a copy of the loan documents until several days after the loan’s
closing date.~ It was not until several weeks after the closing of the loan documents did Plaintiff
discover the Notices of Right to Cancel buried among the copy of loan documents mailed by
Defendants Plaintiff did not know he had a right to cancel his loans Even on Plaintiff`s copy of
Notice of Right to Cancel, Defendants hand-wrote an unreadable deadline date by which Plaintiff must
exercise his right to cancel the loan transaction, [Attachment E] Defendants left Plaintiff no
reasonable means to exercise his right to cancel the OPTEUM/OIT loans

44. When Plaintiff finally received a copy of his loan closing documents he was utterly
shocked that the loan Defendants counseled Plaintiff to enter into was a 5-year negative amortization
adjustable rate mortgage (“5-YEAR ARM”) at 7.94% with prepayment penalties and closing fees
amounting to more than $17,000.00, more than 5% of the value of the loan. [Attachment F]

45. Plaintiff was also shocked that the documents which Defendant SMITH counseled and
instructed Plaintiff to back-date, included a loan APPLICATION to obtain a 5-YEAR ARM, a Good
Faith Estimate (“GFE”) for a 5-YEAR ARM, and a Truth in Lending Act disclosure (“TILA”) for a 5-
YEAR ARM. [Attachment C] In fact, the fact that Plaintiff dated the APPLICATION, GFE, and
TILA disclosures with the date “December 13, 2007” instead of “December 13, 2006” demonstrates
the rushed environment Defendants created at Plaintiff’s home on the loan closing date. lt further
demonstrates Plaintiff`s utter confusion as to Defendant SMITH’s back-dating instructions There is
no denying that Defendants prepared, and/or processed Plaintiff’ s loan APPLICATION on the same
day as the loan closing date. Attached hereto as “Attachment L“ is a copy of an identical loan
APPLICATION for a 5-YEAR ARM which Defendant SMITH inadvertently or mistakenly dated

“1/25/2007” and included in Defendants’ mailed-loan closing documents

 

COMPLAINT ON PREDATORY LENDlNG AND lLLEGAL KlCKBACKS

 

 

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46. Moreover, Plaintiff could not believe to see Defendant SMITH falsely listed on the loan
APPLICATION that Plaintiff" s monthly income was “$6,470.50” [Attachment C at 2] likely because
SMITH wanted Plaintiff to qualify for such an expensive loan. In fact, Defendants knew that
Plaintiff s income was really $3,200 because Defendants completed Plaintiff`s original loan
application for a 30-YEAR FIXED loan just one month earlier. [Attachment A at 2]

47. It was also at this point that Plaintiff realized that Defendant SMITH actually worked
for Defendant GOLDEN VALLEY LENDING GROUP, INC. (hereinafter “GOLDEN VALLEY”),
which was the mortgage broker identified on all of Plaintiff"s loan closing documents

48. Independently from Plaintist review of the loan closing documents from January 27
to February Plaintiff made repeated efforts to contact Defendant SMITH in regards to the loan’s rebate
check and the loan terms in general. Defendant SMITH was utterly unreachable during this time.

49. After discovering the terms of his loans Plaintiff hired a real estate transactional
attorney (“RE Attorney”) for assistance related to Plaintiff’s desire to reverse the loan transaction

50. Plaintiff’s RE Attorney began his assistance to Plaintiff by first trying to contact
SMITH or Mr. Mikkelsen at LENDING CENTER. Defendant LENDING CENTER informed
Plaintiff’s RE Attorney that Mr. Mikkelsen gl__d_ Defendant SMITH were “fired” or “let go.”

51. After discovering Notices of Right to Cancel shuffled amongst other loan closing
documents Plaintiff sent Defendants notices of his desire to exercise that right on February 27, 2007.
On March 13, 2007, Defendant OPTEUM/OIT’s Associate General Counsel, Henry Cronk, denied
Plaintiff’ s demand to cancel his loans and explained that there existed no basis for suggesting Plaintiff
did not receive due Notice of Right to Cancel, and that Plaintiff s demand was untimely beyond the
three (3) days allowed to cancel by statute. [Attachment H]

52. On March 30, 2007, Plaintiff’s RE Attorney sent Mr. Cronk a detailed letter recounting
the unscrupulous events surrounding Plaintiff"s loans [Attachment I] Defendants subsequently
offered to compromise with Plaintiff regarding this matter, but ultimately, and to date, Defendants
have done nothing to compensate, rectify, correct, or address Plaintiff’ s injuries

53. In or about May or June 2007, Defendant OPTEUM/011 sold both of Plaintiff’s loans
to EMC Mortgage Corporation (“EMC”) and Specialized Loan Servicing, LLC. (“SLS”).

 

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54. Upon information and belief, none of the above entities Defendant OPTEUM/OIT,
EMC Mortgage Corporation nor Specialized Loan Servicing, LLC, sent to Plaintiff written notices
regarding the transferring of the servicing of Plaintiff’s loans Plaintiff only discovered that the
OPTEUM/OIT loans were sold to EMC and SLS when he began receiving payment vouchers from
EMC and SLS.

COMPARISON BETWEEN PLAINTIFF’S PRIOR MORTAGES
AND DEFENDANTS’ OPTEUM/OIT LOANS

55. Plaintiff’s belief all along was that he would receive a 30-YEAR FIXED mortgage. A
comparison between Plaintiff s original mortgages and Defendants’ OPTEUM/OIT loans clearly
shows that Plaintiff would have been better off if he had never met or engaged with Defendants

56. A comparison between Plaintiff s past and present loans shows that Defendants were
undoubtedly motivated by earning fees, points commissions Yield Spread Premiums unearned
charges and putting Plaintiff into an unbelievany more expensive loan. Defendants, by placing him in
loans which double his finance charges essentially set Plaintiff`s home up as their own personal
“ATM” for a generation of years to come.

57. On April 21, 2004, Plaintiff purchased his horne by paying a down-payment of $35,000
of his own hard-earned savings and obtaining approximately a $244,000 1St mortgage from Downey
Savings and Loan Association, and a $30,500 2nd mortgage from Washington Mutual Bank, FA.

58. Plaintiff’s 1st and 2ncl mortgages had:

a. an approximately 4.757% interest rate and 4% interest rate, respectively;

b. immediately before dealing with Defendants a final payoff of $250,929.00 and
$29,899.00, respectively [Attachment N];

c. immediately before dealing with Defendants, no prepayment penalties to refinance;

d. a combined monthly payment obligation of $1,278.00 [Attachment N]; and

e. finance charges of not more than $250,000.00 on the 1St mortgage and 2nd mortgages
combined.

59. Plaintiff was able to afford his $1,278.00 total monthly mortgage payments with his

$3,200 per month salary.

 

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1 60. Instead of receiving a 30-YEAR FIXED loan as Defendants promised, Plaintiff received
2 two (2) mortgages from Defendants, including Defendant OPTEUM/OlT’s 5-YEAR ARM at 7.94%
3 With negative amortization and a prepayment penalty. [Attachment F]
4 61. Defendants’ OPTEUM/OIT 1st and 2nd mortgages had:
5 a a $256,000.00 and a $47,000.00 principal balance, respectively [Attachment F at 3];
6 b. a 7.941% and 10.36% interest rate, respectively [Attachments J];
7 c. negative amortization payments [Attachment “py schedule”] and prepayment penalty;
8 d. combined monthly, fully amortized, mortgage payments of $2,481.81; and
9 e. total finance charges of $506,443.88 and $69,764.09 [Attachments J].
10 62. Defendants’ OPTEUM/OIT loans were substantially more expensive than Plaintiff"s
11 prior loans and Plaintiff"s near “800” score entitled him to a better loan. [Attachment M]
12 63. Upon information and belief, Defendants GOLDEN VALLEY/SMITH would not have
13 received from OPTEUM/OIT any Yield Spread Premium in the amount of $2,880.00 if Defendants
14 had sold Plaintiff a 30-YEAR FIXED instead of a 5-YEAR ARM, and an overall more expensive loan,
'15 64. It is clear from the loan comparison, that neither Plaintiff, nor any reasonable person
16 would have chosen to enter into Defendants’ OPTEUM/OIT loans if he had fully been aware, much
17 less understood, the terms of the OPTEUM/OIT loans
18 65. Additional to putting Plaintiff into unreasonably more expensive loans Defendants
19 charged Plaintiff unreasonable, duplicative and unearned fees, totaling more than $17,000.
20 [Attachment F at 4] On an approximately $282,000.00 loan, which is what Plaintiff received from
21 Defendants, the U.S. National average percentage of total fees to loan value would be approximately
22 $5,190.00_or 1.84% of fees to loan value. [Source, Bankrate.com. Julv 2007.] Defendants’ fees
v 23 included the following [Attachment “ “]:
24 a. an outrageous $5,120 origination fee to Defendant GOLDEN VALLEY [On a S282,000
25 loan the U.S. average broker origination fee is $1,571.88. Source, Bankrate.com, July
26 of 2007].
27 b. a $950 administrative fee to OPTEUM/OIT, which should be encompassed within the
28 outrageous origination fee that was charged,
COMPLAINT ON PREDATORY LE:SD|NG AND ILLEGAL KlCKBACKS

 

 

 

 

 

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c. a $950 duplicative administrative fee to GOLDEN VALLEY, which should be
encompassed within the outrageous origination fee that was charged,

d. a second administrative fee of $150 to OPTEUM/OI'I`, which should not have been
charged, or at least within the outrageous origination fee that was charged,

e. a $5,881.22 “unidentified” fee to OPTEUM/OI, which should not have been charged,

f. a $2,880 additional Yield Spread Premium to GOLDEN VALLEY, which should be
encompassed within the outrageous origination fee that was charged.

66. Based upon their 2-part Deceptive Scheme as alleged above, the value of the services
the Defendants, and each of them, provided to Plaintiff in terms of the loan(s), the loan process and in
falsifying his income on the loan applications is ZERO.

VI.
INJURIES

67. ln January 2007, when Plaintiff refinanced through Defendants, Plaintiff did not have a
sufficient combined income that would allow him to meet his monthly mortgagee payments and would
satisfy all of his financial obligations Plaintiff identified to Defendants that his monthly income was
approximately $3,200.

68. Plaintiff went into a state of shock when he received a copy of his loan documents
several days after the closing date. Specifically, he was shocked to realize that the combined “less
than interest” monthly fully amortized mortgage payments to Defendants would be $2,481.81.

69. Plaintiff also has experienced and continues`to experience emotional distress and shock
and humiliation as a result of Defendants’ actions

70. There now exists an actual controversy between the parties regarding Defendants’
duties under applicable law. Therefore, Plaintiff is entitled to declaratory relief.

71. Defendants have illegally gained fees commissions and profits from Plaintiff as
described herein. Therefore, Plaintiff is entitled to restitution,

72. Unless enjoined, Defendants will continue to engage in the unlawful acts described
above. Plaintiff continues to suffer irreparable harm from Defendants unlawful acts unless relief is

provided by this Court. Accordingly, Plaintiff is entitled to injunctive relief,

 

COMPLAINT ON PREDATORY LENDlNG AND ILLEGAL KlCKBACKS

 

 

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73. Defendants acted intentionally, maliciously, wantonly, recklessly and in bad faith as
described herein. Accordingly, where appropriate, Plaintiff is entitled to punitive damages and treble
damages under Cal. Civ. Code § 3345, as Defendants knew or should have known that their conduct
Was directed to Plaintiff, and that Defendants’ conduct would most likely cause Plaintiff to suffer loss
or encumbrance of his primary residence.

FIRST CAUSE OF ACTION
violation of`che Trurh and Lending Act,
15 U.S.C. § 1601 et seq., and
Federal Reserve Regulation Z, 12 C.F.R. § 226 et seq.;
(Against all ‘Defendants)

74. Plaintiff realleges and incorporates by this reference all the allegations of the preceding
paragraphs of this Complaint as though fully set forth herein.

75. Plaintiff has served Defendants OPTEUM/OIT, with a written Notice of Cancellation as
authorized under the TILA. Defendant OPTEUM/OIT denied Plaintiff’s demand. [Attachment “ “]

76. Defendant OPTEUM/OIT is a creditor within the meaning of the Truth In Lending Act
(“TILA”) as implemented by Regulation Z.

77. Defendants violated TILA and Regulation Z by failing to provide Plaintiff with
appropriate material disclosures under TILA, including but not limited to the following:

a. Defendants, and each of them, falsified Plaintiff s loan information, and/or closed their
eyes to the ability to Plaintiff herein to repay loan;

b. Plaintiff was overcharged for closing costs commissions and related fees which
Defendants failed to disclose to Plaintiff which were not bona fide and reasonable and
thus were “finance charges” under TILA that required proper disclosure which
Defendants did not make in their TILA(s) and which altered the entire accuracy of
Defendants’ TILA(s). Defendants GOLDEN VALLEY/ LENDING CENTER/SMITH
functioned as the agents of Defendant OPTEUM/OIT and abandoned their fiduciary
duties to Plaintiff. Defendant OPTEUM/OIT paid the other Defendants under the guise

of paying their fees costs and commissions but these payments were “finance

 

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ch_ar_'g§_s_” because the value of these services these Defendants actually performed for
Plaintiff by implementing their “2-part Deceptive Acts and Practices PredatoLv_
Lending Scheme” as alleged above, is ZERO. Defendants targeted Plaintiff with
advertisement flyers; made promises of being able to re-finance Plaintiff`s existing
loans into a 30-YEAR FIXED loan; Defendants then did a bait and switch and put
Plaintiff into a negative amortization loan where Plaintiff would be paying l£s_§ than
interest on the loan for the initial fifty (50) month period and the monthly payments
were at a minimum approximately $l,274.05 and maximum of approximately
$2,080.35, and which had him borrowing money from his equity at 7.94%; falsified
Plaintiff’s loan application; failed to disclose material terms of the transaction to
Plaintiff so that Defendants could receive fees points yield spread premiums (“YSP”)
and commissions Thus Defendants’ fees, points YSP and commissions were not bona
fide and reasonable and were “finance charges” under TILA that required proper

disclosure in the TILA and which altered the accuracy of the entire TILA.

. Plaintiff applied for and was told that Defendants would refinance his mortgages into a

30-YEAR FIXED loan. Defendants did not refinance Plaintiff s mortgages into such a
loan, Defendants did not issue Plaintiff a TILA based on such a loan. Defendants did
not notify Plaintiff that they were not underwriting the 30-YEAR FIXED loan that he
was solicited, offered, and promised and did not notify Plaintiff that the TILA presented
at closing was not for the 30-YEAR FIXED loan that Plaintiff was solicited with by
Defendants GOLDEN VALLEY/ LENDING CENTER/SMITH.

Any and all statute(s) of limitations relating to disclosure and notices required under 15

U.S.C. § 1601 et seq. were tolled due to the Defendants’ failure to effectively provide the required

disclosures and notices

An actual controversy now exists between Plaintiff, who contends he has the right to

rescind the OPTEUM/OIT loans alleged in this-Complaint, and, based on information and belief,
Defendant OPTEUM/OIT who denies that right.

 

 

 

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1 80. As a direct and proximate result of these violations Plaintiff was and continues to be
2 damaged in an amount according to proof but not yet ascertained including, without limitation,
3 statutory damages and all amounts paid or to be paid in connection with the transaction
4 81. Defendants were unjustly enriched at the expense of Plaintiff who is therefore entitled
5 to equitable restitution and disgorgement of profits obtained by Defendants,
6 82. Plaintiff believes the acts of Defendants as described herein were willful, Wanton and in
7 conscious disregard of the rights of Plaintiff and on that basis allege that Plaintiff is entitled to recover
8 punitive damages in an amount to be established at trial.
9 WHEREFORE, Plaintiff prays for relief as set forth below.
10 SECOND CAUSE OF ACTION
11 Violation of the Real Estate and Settlement Procedures Act,
12 12 U.S.C. § 2601 et seq., and
13 Federal Reserve Regulation X, 24 C.F.R. § 3500 et seq.;
14 (Against all Defendants)
15 83. Plaintiff realleges and incorporates by this reference all the allegations of the preceding
16 paragraphs of this Complaint as though fully set forth herein
17 84. The loans to Plaintiff by Defendant OPTEUM/OIT are federally related mortgage loans
18 defined in the Real Estate Settlement Procedures Act (“RESPA”) and implemented by Regulation X
19 which are broad in terms of their requirements
20 85. Defendants violated Section 8(a) of RESPA, 12 U.S.C. § 2607(a), which provides that
21 “no person shall give and no person shall accept any fee, kickback, or thing of value pursuant to any
22 agreement or understanding, oral or otherwise, that business incident to or a part of a real estate
23 settlement service involving a federally related mortgage loan shall be referred to any person.”
24 86. Defendants also violated Section 8(a) of RESPA, 12 U.S.C. § 2607(b), which provides
25 that “no person shall give and no person shall accept any portion, split, or percentage of any charge
26 made or received for the rendering of a real estate settlement service in connection with a transaction
27 involving a federally related mortgage loan other than for services actually performed.” Section 8
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violations are further defined by 24 C.F.R. § 3500.14, “Prohibition against kickbacks and unearned
fees.”

87. Also, HUD addressed payments in the form of yield spread premiums (“YSP”), and
explained that “in some cases less scrupulous brokers and lenders take advantage of the complexity of
the settlement transaction and use yield spread premiums as a way to enhance the profitability of

mortgage transactions without offering the borrower lower up front fees.” Id. at 53 054.

 

88. Defendant OPTEUM/OIT paid to Defendants GOLDEN VALLEY/ LENDING
CENTER/SMITH, a YSP on Plaintiff’s loans and no Defendant offered Plaintiff lower up front fees
for this YSP payment To the contrary, Defendants implemented their “2-part Deceptive Acts and
Practices Predatory Lending Scheme” against Plaintiff and placed him into a more expensive loan
than he was in prior to meeting Defendants

89. Moreover, HUD established a two-part test for determining the legality of lender
payments to mortgage brokers under RESPA: (l) Whether goods or facilities were actually furnished
or the services were actually performed for the compensation paid, and (2) whether the payments are
reasonably related to the value of the goods or facilities that were actually furnished or services that
were actually performed HUD, Statement of Policy 2001 -1, 66 Fed. Reg. at 53,052.

90. In this case, Defendants, and each of them, engaged in goods/services that were not
actually performed and where the payments were not reasonably related to the value of the
goods/services because Defendants’ chose to implement their “2-part Deceptive Acts and Practices

Predato[y Lending Scheme” as alleged above.
91. The value of the services that Defendants actually performed for Plaintiff by

implementing their “2-part Deceptive Acts and Practices Predatory Lending Scheme” as alleged
above, is ZERO. Defendants targeted Plaintiff with advertisement fliers; made promises of being able
to re-finance Plaintiff s existing loans into a 30-YEAR FIXED mortgage; Defendants then did a bait
and switch and put Plaintiff into a negative amortization loan where Plaintiff would be paying _le_ss than
interest on the loan for the initial fifty (50) month period and the monthly payments were at a
minimum approximately $l,274.05 and maximum of approximately $2,080.35, and which had him

borrowing money from his equity at 7.94%; falsified Plaintiff’s loan application; failed to disclose

 

COMPLAINT ON PREDATORY LENDlNG AND lLLEGAL KlCKBACKS
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material terms of the transaction to Plaintiff so that Defendants could receive fees points yield spread
premiums (“YSP”) and commissions Thus, Defendants’ fees, points YSP and commissions were not
bona fide and reasonable and Were “finance charges” under TILA that required proper disclosure in
the TILA and which altered the accuracy of the entire TILA.

92. Defendants’ acceptance of a YSP and/or other payments and Defendant
OPTEUM/OIT’s payment of that YSP or other payments was an unlawful kickback, unlawful fee
splitting and/or an unearned fee under RESPA because it was not reasonably related to the
performance of lawful services by the accepting Defendants Instead of performing lawful services
the accepting Defendants implemented their “2-part Deceptive Acts and Practices Predatory
Lending Scheme” as alleged above,

93. Defendant OPTEUM/OIT should have known that Defendant GOLDEN
VALLEY/LENDING CENTEIUSMITH did not earn the YSP or other payments because, inter alia,
“....common industry practice is that lenders follow underwriting standard that demand a review of
originations and therefore lenders typically know that brokers have performed the services
required....” HUD’s 2001-1 Policy Statement at 53055. If Defendant OPTEUM/OIT had reviewed
Plaintiff’s loan originations, including his loan applications OPTEUM/OIT would have learned of the
obvious red flags they contained.

94. RESPA also prohibits any person from accepting an excessive or unearned fees All
fees on Plaintiff’s loan are excessive or unearned because the loan was not reasonably related to the
performance of lawful services in that it had been falsified through Defendants implementation of
their “2-part Deceptive Acts and Practices Predator_'y Lending Scheme” as alleged above.

Defendants GOLDEN VALLEY/LENDING CENTER/SMITH

a. an outrageous $5,120 origination fee to Defendant GOLDEN VALLEY [On a $282,000
loan the U.S. average broker origination fee is $l,571.88. Source, Bankrate.com, July
of 2007].

b. a $950 administrative fee to OPTEUM/OIT, which should be encompassed within the

outrageous origination fee that was charged,

 

COMPLAINT ON PREDATORY LENDlNG AND ILLEGAL KlCKBACKS
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c. a $950 duplicative administrative fee to GOLDEN VALLEY, which should be
encompassed within the outrageous origination fee that was charged,

d. a second administrative fee of $1504 to OPTEUM/OIT, which should not have been
charged, or at least within the outrageous origination fee that was charged,

e. a $5,881.22 “unidentified” fee to OPTEUM/OI, which should not have been charged,

a. a $2,880 additional Yield Spread Premium to GOLDEN VALLEY, which should be
encompassed within the outrageous origination fee that was charged;

95. All of these fees paid to these Defendants, and each of them, were excessive and/or
unearned fees, and were unlawful kickbacks under RESPA because they were not reasonably related to
the performance of lawful services

96. Pursuant to 12 U.S.C. § 2607(d), Plaintiff is entitled to recover from Defendant, and
each of them, an amount equal to three times the amount of any and all charges for “settlement
services” paid directly or indirectly by Plaintiff, as well as actual damages court costs attorneys’ fees,
and any other amounts or damages permissible under RESPA.

97. By the actions described herein and as a proximate cause of Defendants’ conduct,
Plaintiff was damaged, in an amount to be proven at trial but not yet ascertained

WHEREFORE, Plaintiff prays for relief as set forth below.

THIRD CAUSE OF ACTION
Violation of California Civil Code Sections 1920 and 1921;
(Against all Defendants)

98. Plaintiff realleges and incorporates by this reference all the allegations of the preceding
paragraphs of this Complaint as though fully set forth herein

99. Based on information and belief, Plaintiff alleges that Defendants, and each of them,
violated California Civil Code Section 1920 and 1921 in failing to meet the requirements of an

adjustable rate mortgage instrument as set forth in California Civil Code Section 1920, and the

` requirements for disclosure of information in connection with an adjustable rate mortgage instrument

as set forth in California Code Section 1921.

WHEREFORE, Plaintiff prays for relief as set forth below.

 

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FOURTH CAUSE OF ACTION
Violation of Unfair Competition Act,
California Business and Professions Code § 17200 et seq.;
(Against all Defendants)

100. Plaintiff realleges and incorporates by this reference all the allegations of the preceding
paragraphs of this Complaint as though fully set forth herein

101. Defendants and each of them, have committed acts of unfair business practices as
defined by California Business and Professions Code § 17200, et seq., by engaging in acts and
practices which include, but are not limited to their “2-part Deceptive Acts and Practices Predatory
Lending Scheme” as alleged above, and including but not limited to making loans based on borrower
information which Defendants and each of them, falsified; using bait and switch tactics; making loans
without confirming or verifying borrower information; making loans without providing the borrower
with sufficient, accurate and understandable information regarding the terms and conditions of the
loan; making loans without providing the borrower with sufficient, accurate and understandable
information regarding the nature and extent of the financial risk being assumed by the borrower; and
making loans without regard to the financial ability of the borrower to pay.

102. These acts all as alleged above violate California Business and Professions Code §
17200, et seq. in the manner alleged above, and, based on information and belief, in the following
further respects: Defendants’ conduct threatens an incipient violation of various consumer protection
statutes or which violate the policy or spirit of such laws including, but not limited to, California
Business and Professions Code § 17500; California Civil Code § 1921; California Civil Code § 1920;
California Civil Code § 1770; California Civil Code Section1709, 1710, and 1711; Section 1639 of
Title 15 of the United States Codes together with 12 C.F.R. 226.1 (Regulation Z).

103. All Defendants engaged in the following unfair business practices including, without
limitation the following:

a. Implementing Defendants’ “2-part Deceptive Acts and Practices Predatory Lending

Scheme”;

 

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b. Engaging in predatory lending practices in dealings with Plaintiff including, but not
limited to, the use of high pressure sales tactics and the falsification of Plaintiff’s loan
application information;

c. Self-dealing at the expense of Plaintiff;

d. Failing to provide notices and disclosures required by TILA and RESPA;

e. Violating TILA; Violating RESPA; Violating the False Advertising Act, California
Business and Professions Code § 17500 et seq., or any other applicable statute;

f`. Charging and collecting fees in excess than those permitted under statute;

g. Charging, collecting and distributing illegal kickbacks and fee splitting under the guise
of fees and commission for services that had no reasonable value due to the Defendants’
“2-part Deceptive Acts and Practices Predator_'y Lending Scheme”;

h. Other acts that Plaintiff is presently unaware of;

104. As a direct and proximate result of the aforementioned acts Defendants, and each of
them, obtained illegal kickbacks and/or illegal fee splitting from Plaintiff s equity in his home.
Predictably, Plaintiff is now having to refinance his loans to get out of the Defendants’ OPTEUM/OIT
loans and will incur even more damages to his equity. Plaintiff has suffered injury as alleged herein

105. Plaintiff individually and on behalf of the public, seeks an order of this Court enjoining
Defendants and prohibiting each of the said Defendants from predatory loan practices of the nature and
kind herein alleged, as the public and Plaintiff will be irreparably harmed if such an order is not
granted

b 106. Defendants have been unjustly enriched at the expense of Plaintiff, who therefore is
entitled to equitable restitution and disgorgement of profits realized by Defendants as a result of the
unfair, unlawful, deceptive, untrue and/or misleading advertising practices

107. Moreover, because Plaintiff brings this action on behalf of himself and on behalf of the
general public, he is entitled to reasonable attorneys’ fees pursuant to California Code of Civil
Procedure § 1021.5. Plaintiff has sustained damages including attorney fees and legal costs and will
sustain additional damages in prosecuting this action

WHEREFORE, Plaintiff prays for relief as set forth below.

 

COMPLAINT ON PREDATORY LENDING AND lLLEGAL KlCKBACKS

 

 

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FIFTH CAUSE OF ACTION
Violation of False Advertising Act,
California Business and Professions Code § 17500 et seq.;
(Against all GOLDEN EQUITY/SMITH)

108. Plaintiff realleges and incorporates by this reference all the allegations of the preceding
paragraphs of this Complaint as though fully set forth herein

109. Defendants implemented their “2-part Deceptive Acts and Practices Predatog
Lending Scheme” as alleged above. The targeted advertisement flyer,'promotional materials and
other written or oral promotion efforts undertaken by Defendants to induce consumers to enter into
loan transactions contained statements that were deceptive, untrue and/or misleading, or omitted
material information and which were known, or by the exercise of reasonable care should have been
known by Defendants to be deceptive, untrue and/or misleading, in violation of California Business
and Professions Code § 17500 et seq.

110. Defendants’ use of various forms of advertising call attention to or give publicity to the
sale of their goods or services and other practices as set forth above, which were not as advertised or
as otherwise represented, constituted unfair competition, deceptive untrue and/or misleading
advertising and unlale business practice within the meaning of California Business and Professions
Code § 17200 et seq., and 17500 et seq.

111. These advertisements and practices have deceived and injured Plaintiff and are likely to
deceive and injure the consuming public in violation of those sections

112. Pursuant to California Business and Professions Code §§ 17703 and 17535, Plaintiff
individually and on behalf of the public, seeks an order of this Court enjoining Defendants from
continuing to engage in their false advertising practices The public and Plaintiff will be irreparably
harmed if such an order is not granted

113. Defendants have been unjustly enriched at the expense of Plaintiff, who wherefore is
entitled to equitable restitution and disgorgement of profits realized by Defendants as a result of the

unfair, unlawful, deceptive, untrue and/or misleading advertising practices

 

COMPLA|NT ON PREDATORY LENDlNG AND lLLEGAL KlCKBACKS
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114. Moreover, because Plaintiff brings this action on behalf of himself and on behalf of the
general public, he is entitled to reasonable attorneys’ fees pursuant to California Code of Civil
Procedure § 1021.5.

WHEREFORE, Plaintiff prays for relief as set forth below.

SIXTH CAUSE OF ACTION
Constructive Fraud
California Civil Code § 1573;
(Against Defendants GOLDEN VALLEY/LENDING CENTER/SMITH)

115. Plaintiff realleges and incorporates by this reference all the allegations of the preceding
paragraphs of this Complaint as though fully set forth herein

116. Defendants GOLDEN VALLEY/LENDING CENTER/SMITH owed a fiduciary duty
to Plaintiff because they were acting in their capacities as DRE licensees and/or mortgage brokers

117. Defendants breached that duty by, inter alia, implementing their “2-part Deceptive
Acts and Practices Predator_'y Lending Scheme” as alleged above, and misrepresenting or failing to
disclose material facts about the transaction

118. Specifically, GOLDEN VALLEY/ LENDING CENTER allowed Defendant SMITH, as
their agent, to falsely represent that Defendants would offer Plaintiff a more valuable loan, and
particularly a 30-YEAR FIXED mortgage. Defendants then proceeded to use a bait and switch tactics
slight of hand paper shuffling techniques and brazenly, secretly and intentionally implemented their
“_2_-part Deceptive Acts and Practices Predatory Lending Scheme” as alleged above in order to
charge Plaintiff unreasonable, duplicative and unearned fees, Defendants were aware that Plaintiff’s
understanding was that he would receive a thirty (30) year fixed interest rate mortgage. Defendants
were also aware that Plaintiff would not be able to afford the product they were selling him,

119. Defendants also concealed, certain material facts from Plaintiff who was not aware of
them including, but not limited to the following:

a. The true terms of Plaintiff’s loan;"
b. That Plaintiff was getting two (2) adjustable rate mortgages on his home, including a 5-

YEAR ARM at 7.94% with negative amortization and a prepayment penalty;

 

COMPLAINT ON PREDATORY LENDING AND lLLEGAL KlCKBACKS
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That Plaintiff was not going to receive $5,000 at closing as Defendant SMITH
promised;

That Defendants would charge a total closing fees of over $l7,000 which were
excessive and duplicative;

That Defendants had falsified Plaintiff’s income on his loan application for the 5-YEAR
ARM;

That Defendants instructed him to sign “closing documents” which unbeknownst to
Plaintiff included the Good Faith Estimate, TILA disclosures the loan application for
the 5-YEAR ARM with the other closing documents

That Defendants unlawfully instructed Plaintiff to back-date Good Faith Estimate,
TILA disclosures the loan application for the 5-YEAR ARM;

That the loan(s) presented at closing were not the 30-YEAR FIXED loan which
Defendants’ solicited, offered and promised Plaintiff;

That, with Plaintiffs 767 to 795 FICO credit scores and history was entitled to a 30-
YEAR FIXED mortgage, and an overall less expensive loan;

That Plaintiff was not obligated to proceed with the loan;

That Plaintiff would divest all of the equity in his horne that he earned under his
previous loan;

That Plaintiff had a right to cancel the loan within three days;

Other Acts of which Plaintiff is presently unaware;

Plaintiff reasonably relied on the misrepresentations or nondisclosures because he

thought that Defendants were acting as his agents and in his best interests

Had Plaintiff known the truth, Plaintiff would not have agreed to Defendants’ wishes or

followed their instructions or signed their documents under their “2-part Deceptive Acts and
Practices Predatory Lending Scheme”. Plaintiff was utterly shocked when he realized that he had

been tricked and deceived upon first notice that he was not receiving 30-YEAR FIXED mortgage

As a proximate result of his reasonable reliance on Defendants’ misrepresentation(s),

Plaintiff sustained damages in an amount to be proven at trial but not yet ascertained Plaintiff

 

 

 

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reasonably relied on Defendants’ misrepresentations which were a substantial factor in causing
Plaintiff’s damages

123. Defendants are guilty of malice, fraud or oppression, as defined in Civil Code § 3294,
and Plaintiff should therefore recover, in addition to actual damages damages to make an example of
and to punish Defendants

WHEREFORE, Plaintiff prays for relief as set forth below.

SEVENTH CAUSE OF ACTION
` IntentionalMisrepresentation
California Civil Code §§ 1709-1710;
(Against all Defendants)

124. Plaintiff realleges and incorporates by this reference all the allegations of the preceding
paragraphs of this Complaint as though fully set forth herein

125. Defendants knowingly and willfully induced Plaintiff to enter into the loan agreement
by making false oral statements and omitting material information regarding the terms of the loan and
Plaintiff s application

126. Specifically, GOLDEN VALLEY/SMITH, and others falsely represented in PART 1
of their “Deceptive Acts and Practices Predatory Lending Scheme” as alleged above, including but
not limited to the following: that Plaintiff was to receive an overall “perfect” loan; that Defendants
were going to put Plaintiff into a 30-YEAR FIXED mortgage; that Defendants were acting in the best
interest of Plaintiff; and that Plaintiff would receive $5,000 at closing.

127. Defendants knew that these representations were false at the time they were made or
made the false representations in reckless disregard of the truth.

128. Defendants and each of them, then proceeded to implement PART 2 of their
“Deceptive Acts and Practices Predatory Lending Scheme” as alleged above, Defendants
GOLDEN VALLEY/SMITH falsified Plaintiff’s loan applications as to Plaintiffs income.
Defendants further instructed Plaintiff to sign the “closing documents” which, unbeknownst to
Plaintiff, included the loan application for his 5-YEAR ARM, Good Faith Estimate for his 5-YEAR
ARM, and TILA disclosures for his 5-YEAR ARM,

 

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129. Defendants intended that Plaintiff rely on the misrepresentations

130. Plaintiff reasonably relied on Defendants’ misrepresentations Plaintiff relied on
Defendants’ misrepresentations because he thought Defendants were acting as his agent and in his best
interests

131. Had Plaintiff known the truth, Plaintiff would not have agreed to Defendants’ wishes or
followed their instructions or signed their documents under their “2-part Deceptive Acts and
Practices Predato§y Lending Scheme”.

132. As a proximate result of his reasonable reliance on Defendants’ misrepresentation(s),
Plaintiff sustained damages in an amount to be proven at trial but not yet ascertained Plaintiff
reasonably relied on Defendants’ misrepresentations which were a substantial factor in causing
Plaintiff’s damages

133. Defendants are guilty of malice, fraud or oppression, as defined in Civil Code § 3294,
and Plaintiff should therefore recover, in addition to actual damages damages to make an example of
and to punish Defendants

WHEREFORE, Plaintiff prays for relief as set forth below.

EIGHTH CAUSE OF ACTION
Concealment
California Civil Code §§ 1709-1710;
(Against all Defendants)

134. Plaintiff realleges and incorporates by this reference all the allegations of the preceding
paragraphs of this Complaint as though fully set forth herein

135. Defendants, and each of them, implemented their “2-part Deceptive Acts and
Practices Predatorv Lending Scheme” as alleged above.

136. Defendants knowingly and willfully induced Plaintiff to enter into the loan agreement
by making false oral statements and omitting material information regarding the terms of the loan and
Plaintiff’ s application

137. Defendants concealed, certain material facts from Plaintiff who was not aware of them

including, but not limited to the following:

 

COMPLAINT ON PREDATORY LENDING AND ILLEGAL KlCKBACKS
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The true terms of Plaintiff’s loan;

That Plaintiff was getting two (2) adjustable rate mortgages on his home, including a 5-
YEAR ARM at 7.94% with negative amortization and a prepayment penalty;

That Plaintiff was not going to receive $5,000 at closing as Defendant SMITH
promised;

That Defendants would charge a total closing fees of over $l7,000 which were
excessive and duplicative;

That Defendants had falsified Plaintiff’s income on his loan application for the 5-YEAR
ARM;

That Defendants instructed him to sign “closing documents” which unbeknownst to
Plaintiff included the Good Faith Estimate, TILA disclosures the loan application for
the 5-YEAR ARM with the other closing documents;

That Defendants unlawfully instructed Plaintiff to back-date Good Faith Estimate,
TILA disclosures the loan application for the 5-YEAR ARM;

That the loan(s) presented at closing were not the 30-YEAR FIXED loan which
Defendants’ solicited, offered and promised Plaintiff;

That, with Plaintiff’s 767 to 795 FICO credit scores and history was entitled to a 30-
YEAR FIXED mortgage, and an overall less expensive loan;

That Plaintiff was not obligated to proceed with the loan;

That Plaintiff would divest all of the equity in his home that he earned under his
previous loan;

That Plaintiff had a right to cancel the loan within three days;

Other Acts of which Plaintiff is presently unaware;

Defendants Were under a duty to disclose these facts to Plaintiff because of Defendants’

fiduciary relationship with Plaintiff, yet Defendants chose to conceal or suppress these facts with intent

 

 

 

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139. Plaintiff was unaware of the facts and reasonably relied on Defendants’ deception in
proceeding with the loan transactions because Plaintiff thought Defendants were acting as his agent
and in his best interests

140. Had Plaintiff known the truth, Plaintiff would not have agreed to Defendants’ wishes or
followed their instructions or signed their documents under their “ -part Deceptive Acts and
Practices Predatory Lending Scheme”.

141. As a proximate result of his reasonable reliance on Defendants’ misrepresentation(s),
Plaintiff sustained damages in an amount to be proven at trial but not yet ascertained Plaintiff
reasonably relied on Defendants’ misrepresentations which were a substantial factor in causing
Plaintiff’s damages

_ 142. Defendants are guilty of malice, fraud or oppression, as defined in Civil Code § 3294,
and Plaintiff should therefore recover, in addition to actual damages damages to make an example of
and to punish Defendants

WHEREFORE, Plaintiff prays for relief as set forth below.

NINTH CAUSE OF ACTION
Negligent Misrepresentation
California Civil Code §§ 1709-1710;
(Against all Defendants) `

143. Plaintiff realleges and incorporates by this reference all the allegations of the preceding
paragraphs of this Complaint as though fully set forth herein

144. Defendants, and each of them, implemented their “2-part Deceptive Acts and
Practices Predatory Lending Scheme” as alleged above.

145. Also, Defendants falsely represented to Plaintiff, inter alia, the following: specifically,
Defendants falsely represented that Plaintiff was to receive an overall “perfect” loan; that Defendants
were going to put Plaintiff into a 30-YEAR FIXED mortgage; that Defendants were acting in the best
interest of Plaintiff; and that Plaintiff would receive $5,000 at closing.

146. Defendants had no reasonable basis for believing that the representations were true

when the representations were made.

 

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147. Defendants intended that Plaintiff rely on the misrepresentations

148. Plaintiff reasonably relied on Defendants’ misrepresentations Plaintiff relied on
Defendants’ misrepresentations because he thought Defendants were acting as his agent and in his best
interests

149. Had Plaintiff known the truth, Plaintiff would not have agreed to Defendants’ wishes or
followed their instructions or signed their documents under their “2-part Deceptive Acts and
Practices Predatol_~y Lending Scheme”.

150. As a proximate result of his reasonable reliance on Defendants’ misrepresentation(s),
Plaintiff sustained damages in an amount to be proven at trial but not yet ascertained Plaintiff
reasonably relied on Defendants’ misrepresentations which were a substantial factor in causing
Plaintiff’s damages

WHEREFORE, Plaintiff prays for relief as set forth below.

TENTH CAUSE OF ACTION
Violation of California Civil Code § 1711 - Fraud on the Public;
(Against Defendants GOLDEN VALLEY/LENDING CENTER/SMITH)

151. Plaintiff realleges and incorporates by this reference all the allegations of the preceding
paragraphs of this Complaint as though fully set forth herein

152. Defendants’ targeted Plaintiff with advertisement flyers for their services and/or
products Defendants, and each of them, practiced a deceit with intent to defraud Plaintiff and the
Public through their “2-part Deceptive Acts and Practices Predator_'y Lending Scheme” as alleged
above,

153. Defendants’ fraud was the proximate cause of Plaintiff s damages as alleged herein

154. Defendant were guilty of malice, fraud or oppression, as defined in Civil Code § 3294,
and Plaintiff should therefore recover, in addition to actual damages damages to make an example of
and to punish Defendants,

WHEREFORE, Plaintiff prays for relief as set forth below.

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COMPLAlNT ON PREDATORY LENDING AND ILLEGAL KlCKBACKS
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ELEVENTH CAUSE OF ACTION
Rescission/Cancellation, California Civil Code § 1689,
And Court’s Inherent Equitable Authority;
(Against all Defendants)

155. Plaintiff hereby realleges and incorporates by this reference all the allegations of the
preceding paragraphs of this Complaint as though fully set forth herein

156. Plaintiff’s consent to Defendants’ OPTEUM/OIT loans were obtained by Defendants,
and each of them, through mistake, fraud, and undue influence by the implementation of their “Z;Lrt
Deceptive Acts and Practices Predatol_'y Lending Scheme” as alleged above.

157. Defendants with intent to deceive Plaintiff and to unduly influence him to consent to the
OPTEUM/OIT loans which Defendants knew or should have known Plaintiff did not understand or '
comprehend, and which Defendants knew or should have known Plaintiff did not have sufficient
income to afford or pay, did fraudulently conceal from Plaintiff that Plaintiff was thereby placing his
sole material possession, his home, and his equity, at severe risk of loss

158. The active misrepresentations of Defendants, and each of them, and their silence and
deceit, were false and fraudulent

159. At the time Defendants, and each of them, made the misrepresentations and engaged in
the concealment and deceit as alleged herein, and at the time Plaintiff signed any of the Loan
Applications and/or the Loan Documents Plaintiff did not know that the misrepresentations deceit and
inducements by Defendants were false and fraudulent, but instead believed them to be truthful and
reasonably relied on them, thereby entering into the OPTEUM/OIT loans without the benefit of the
true facts and by duress undue influence and coercion and mistake, `

160. As a result of the fraudulent misrepresentations deceit and inducements by Defendants,
and each of them, Plaintiff has incurred substantial financial damages as herein alleged Plaintiff
hereupon serves notice of his demand for rescissionary damages on the grounds of fraudulent
misrepresentations and inducement, duress undue influence, coercion and mistake by Defendants, and
each of them, as alleged herein To the extent Plaintiff’s loan transactions documents contain an

exculpatory clause in favor of Defendants purporting to release Defendants from their own fraud,

 

COMPLAINT ON PREDATORY LENDING AND ILLEGAL KlCKBACKS
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Plaintiff alleges that such a clause is unenforceable pursuant to Civil Code § 1668 and other applicable
law.

161. Plaintiff hereby demands restitution from Defendants, and each of them, in an amount
that will restore to Plaintiff the amount of horne equity he previously held prior to the OPTEUM/OIT
loans Plaintiff further alleges that Defendants and each of them, have been unjustly enriched by their
“ -part Deceptive Acts and Practices Predatory Lending Scheme” as alleged above, and that the
amount of all commissions earned by Defendants on the OPTEUM/OIT loans and all profits and
payments earned by Defendants as a result of the OPTEUM/OIT loans must be disgorged by
Defendants to Plaintiff.

WHEREFORE, Plaintiff prays for relief as set forth below.

TWELFTH CAUSE OF ACTION
Breach of Fiduciary Duty;
(Against all GOLDEN VALLEY/LENDING CENTER/SMITH)

162. Plaintiff hereby realleges and incorporates by this reference all the allegations of the
preceding paragraphs of this Complaint as though fully set forth herein

163. California law imposes on the insurance agents/real estate agents/and mortgage brokers
as fiduciaries the same obligation of undivided service and loyalty that it imposes on a trustee in favor
of a beneficiary.

164. Defendants GOLDEN VALLEY/LENDING CENTER/SMITH, and each of them,
owed Plaintiff fiduciary duties of the utmost loyalty, good faith and diligence and breached those
duties by, inter alia:

a. Implementing their “2-part Deceptive Acts and Practices Predatory Lending
§c_lee” as alleged above;

b. Baiting Plaintiff with their promises of a 30-YEAR FIXED mortgage which Defendants
had no intention of consummating for Plaintiff;

c. Misleading Plaintiff to believe that his monthly mortgage payments according to their
promises would be lower than they ultimately were;

d. Failing to explain the terms of the loan transaction to Plaintiff;

 

COMPLAINT ON PREDATORY LENDING AND ILLEGAL KlCKBACKS

 

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e. Refusing to be present during Plaintiff s signing of closing documents

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lnducing Plaintiff to sign loan documents by either misrepresenting the terms or failing
to disclose the loan terms

F ailing to disclose all the charges incurred in connection with the refinance;

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. Disregarding Plaintiff’s clear objective to purchase o_nly_ a 30-YEAR FIXED mortgage;

i. Counseling Plaintiff into purchasing a 5-YEAR ARM with higher payments than
Plaintiffs original loan_the terms of which were unbeknownst to Plaintiff until afier
signing closing documents

j. Instructing Plaintiff to back-date the Loan Application, Good Faith Estimate (“GFE”),
and TILA disclosures of which consequence Plaintiff was not aware;

k. lnducing Plaintiff to sign a loan that is more financially burdensome than the original
30-YEAR FIXED loan presented to Plaintiff.

l. Guiding Plaintiff to a more expensive loan product so that Defendants could earn a
higher commission by way of the Yield Spread Premium (“YSP”);

m. Falsifying Plaintiff`s income and assets on his loan applications

n Qualifying Plaintiff for more expensive loans where, because of Defendants’
falsification of Plaintiff s income, the monthly payments consume almost the entirety of
Plaintiff’s monthly income.

165. Defendants engaged in their conduct alleged herein for the purpose of advancing their
own financial interest and in callous disregard of the foreseeable financial consequences to Plaintiff.

166. Defendants GOLDEN VALLEY/LENDING CENTER/SMITH, and each of them,
operated as agents of Defendant OPTEUM/OIT and abandoned their fiduciary duty to Plaintiff.

167. Defendants failed to act diligently by failing to evaluate Plaintiff’s ability to repay the
loans failing to disclose all material terms of the transaction, and failing to comply with applicable
consumer protections intended to benefit Plaintiff,

168. As a result of Defendants’ breach of their fiduciary duties to Plaintiff, Plaintiff has

sustained damages to be proved at trial but not yet ascertained

 

COMPLAINT ON PREDATORY LENDING AND lLLEGAL KlCKBACKS
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169. Defendants’ conduct as alleged herein was a substantial factor in causing the damages
sustained by Plaintiff, and as a direct, proximate and legal result of the above alleged breach of
fiduciary duty, Plaintiff has suffered and will continue to suffer damages in an amount to be proven at
trial, including, but not limited to, damages for loss of property and money, and damages for emotional
distress

170. Defendants were guilty of malice, fraud or oppression, as defined in Civil Code § 3294,
and where appropriate Plaintiff should therefore recover, in addition to actual damages damages to
make an example of and to punish Defendants

WHEREFORE, Plaintiff prays for relief as set forth below.

THIRTEENTH CAUSE OF ACTION
Negligence;
1 (Against all Defendants)`

171. Plaintiff hereby realleges and incorporates by this reference all the allegations of the
preceding paragraphs of this Complaint as though fully set forth herein

172. Because a mortgage loan broker and mortgage loan lender is required to exercise
reasonable care and diligence in any transaction and is bound to exercise his or her skill for the benefit
of the principal, the agent is liable for any damages suffered by the principal as a result of any
negligence in the performance of his or her agency duties

173. Defendants and each of them, owed Plaintiff a duty to act with that degree of skill,
prudence and diligence as other mortgage brokers and lenders of ordinary skill and capacity in the
performance of the services that they undertake

174. A reasonably prudent mortgage loan broker would not have implemented their “_;L\Lt
Deceptive Acts and Practices Predatory Lending Scheme” as alleged above nor would they have
directed Plaintiff to the OPTEUM/OIT loan products nor originated such loans

175. Defendant OPTEUM/OIT are secondarin liable for the actions of Defendants
GOLDEN VALLEY/LENDING CENTER/SMITH, and OPTEUM/OIT also failed to properly
consider, investigate, evaluate or audit Plaintiff's loan applications and/or ability to repay loans and/or

the actions of their agents

 

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176. Plaintiff is informed and believes that Defendant also failed to consider the usual
underwriting factors for assessing creditworthiness when they loaned to Plaintiff, and in fact that
Defendant GOLDEN VALLEY/LENDING CENTER/SMITH all falsified Plaintiff’ s loan applications
and deceived Plaintiff as to the true terms of the loans

177. Defendants and each of them, knew or should have known to utilize the best practices
for underwriting, originating and issuing loans when considering the OPTEUM/OIT loans to Plaintiff
but negligently failed to do so.

178. Defendant GOLDEN VALLEY/LENDING CENTEIUSMITH breached their duties by
encouraging Plaintiff to sign for loans with different terms than the 30-YEAR FIXED mortgage they
had represented to Plaintiff,

179. By their conduct as alleged herein, Defendants were the proximate cause of damages
sustained by Plaintiffs in an amount to be proven at trial but not yet ascertained

WHEREFORE, Plaintiff prays for relief as set forth below.

FOURTEENTH CAUSE OF ACTION
Breach of Implied Covenant of Good Faith and Fair Dealing;
(Against OPTEUM/OIT)

180. Plaintiff hereby realleges and incorporates by this reference all the allegations of the
preceding paragraphs of this Complaint as though fully set forth herein

181. The OPTEUM/OIT loans including the promissory note and deed of trust, imposed
upon Defendant OPTEUM/OIT a covenant of good faith and fair dealing when Defendant
OPTEUM/OIT:

a. Prepared and directed Plaintiff to sign the loan application(s);

b. Secretly and fraudulently failed to take any steps to verify any of the information
contained in the loan applications

c. Approved the OPTEUM/OIT loans based on information they knew or should have
known to be false and inaccurate;

d Fraudulently induced Plaintiff to accept the OPTEUM/OIT loans;

 

COMPLAINT ON PREDATORY LENDING AND ILLEGAL KlCKBACKS
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e. Failed to disclose to Plaintiff that should he fail to pay the monthly loan payments he
would lose his home and all equity in his home as well;

f. Overcharged for fees, commissions points YSP’s and notary fees

g. Paying to Defendants GOLDEN VALLEY/SMITH fees, commissions points YSP’s;

h. Other acts of which Plaintiff is presently unaware

182. As a proximate result of the aforementioned acts and omissions by Defendant
OPTEUM/OIT, Plaintiff has suffered loss of monies in a sum to be proven at the time of trial. lt has
also become reasonably necessary for Plaintiff to retain counsel to recover amounts due under the
contract.

183. The aforementioned acts were performed by Defendant OPTEUM/OIT maliciously,
fraudulently and oppressively entitling Plaintiff to punitive damages in an amount appropriate to
punish the Defendant. d

WI-IEREFORE, Plaintiff prays for relief as set forth below.

FIFTEENTH CAUSE OF ACTION
Intentional Infliction of Emotional Distress;
(Against all Defendants)

184. Plaintiff hereby realleges and incorporates by this reference all the allegations of the
preceding paragraphs of this Complaint as though fully set forth herein

185. Defendants, and each of them, acted with conscious and outrageous disregard towards
Plaintiff by implementing their “2-part Deceptive Acts and Practices Predatory Lending Scheme”
as alleged above, so as to foreseeably cause Plaintiff severe and enduring emotional distress including
persistent and strong feelings of fear, shock, worry, anxiety, anger, depression sadness,
embarrassment, humiliation shame and disappointment, constituting an extreme and outrageous
invasion of Plaintiff"s mental and emotional tranquility.

WHEREFORE, Plaintiff prays for relief as set forth below.

//
//
//

 

COMPLAlNT ON PREDATORY LENDING AND ILLEGAL KlCKBACKS

 

 

-38-

 

 

 

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lase 3:07-cv-01567-BEN“VG Document 1 Filed 08/09/07‘age|D.39 Page 39 of 99

PRAYER FOR RELIEF

WHEREFORE, Mr. Burrows prays for judgment on the above causes of action against

Defendants as follows:

l.

That the Court assume supplemental jurisdiction over all state law claims pursuant to 28

U.s.C. § 1367;

. That the Court declare that Defendants violated applicable provisions of federal and state

law;

. That the Court enjoin all unlawful practices complained of in this action and impose

affirmative injunctive relief requiring Defendants, their partners agents employees
assignees and all person acting in concert or participating with them, to take affirmative
action to immediately implement policies designed to ensure: (1) that all prospective
borrowers’ loan applications do not contain false information, (2) a thorough evaluation of
all prospective borrowers’ ability to repay any loans made available to them, (3) training
regarding applicable lending laws for all of defendants’ employees and agents

That the Court order Defendants to immediately rescind the loans and return all cost to
Plaintiff associated with the loans and that the Court order that if the loans have been sold,
that OPTEUM/OIT be made to repurchase the`loans and then rescind the loans and return

all cost to Plaintiff associated with the loans

. That the Court award monetary, statutory, compensatory, punitive damages and treble

damages where appropriate, to Plaintiff according to proof;

That the Court award damages under California Civil Code § 3345, where appropriate to
Plaintiff according to proof;

That the Court award Plaintiff costs of suit, including reasonable attomeys’ fees and

That the Court award Plaintiff all other relief as the Court deems just.

 

COMPLAlNT ON PREDATORY LENDING AND ILLEGAL KlCKBACKS
-39_

 

 

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Case 3:07-cV-01567-BE|\3/VG Document 1 Filed 08/09/076age|D.40 Page 40 of 99

DATED; August _':7_, 2007 THE JK LAW FIRM, APC

Jor;é/than Kurniadi, Esq.
Attorneys for Plaintijj”Michael Burrows

JURY TRIAL DEMANDED

Plaintiff hereby demands a trial by jury. UWM

x}ffthan Kurniadi, Esq.
Attorneysfor Plaintljj”Michael Burrows

 

COMPLAINT ON PREDATORY LENDING AND lLLEGAL KlCKBACKS
-40-

 

 

 

 

 

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ATTACHMENT “A” ` v

 

 

CaSe 3:07-CV-01567-BEN- G DOCumentle Filed O8lO9/O7 age|D.42 P 4 199 -
THE LENDlNG cENrER ‘°°° ?°"AQS¢ATE%°QLEE,EAE‘LE‘{$; §§Eéz‘a!&

Uniform Resl_dentlal Loan Applrca ron (800, 304_6°51

This application is designed to be completed by the applicant(s) with the Lender’s assistance Applicants should complete this form as “Borrower" or uCo-l?»orrr)wer," as applicable. Co-Bon

information must also be provided (and t_he appropriate box checked) when l:l the income or assets of a person other than the Borrower (including the Borrower`s spouse) will be used as a basis for

~ qualification orEl the income or assets of the Borrower’s spouse or other person who has community property rights pursuant to state law will not be used as a basis for loan qualification but his t

liabilities must be considered because the spouse or other person has community property rights pursuant to applicable law and Borrower resides in a community property state, the security prope
located in a community property state, or the Borrower is relying on other property located in a community property state as a basis for repayment of the loan,

'lf this is an application for joint ciedit, Borrower and Co-Borrowcr each agree that we intend to apply for joint credit (sign below):

 

   
  
  
    
  

Borrower MlCHAEL BURROWS Co-Borrower

e'»nr»u '

Other (e plain):

        
 

    
     

¢'}`/ A\
,

   
 

  

Mortgage Conventional L°"d°r ease Number

Applled for:
Amount

5221800915

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4255 33RD STREET UNIT 61 San‘Dlego, CA 92104 ' n _ 1
l'.e l Descri tion of Sub'ect Pm erty (attach description if necessary) ~ . l _ Year Bui|t
S E LEGA DESCR| TlON TTACHED
4 1 1983
Purpose of Loan Purchase _ Construction l:l Other (explain): Pro erty will her _ ' ‘ 4
4 X' Retinance ' Construction-Permanent . iii Primary Residence l:l Secondary P " l lnvestrner.
Complete this line if construction or construction-permanent Ioan. v l 4
Year Lot Acquired Original Cost Amount Existing Liens (a) Present Value of Lot (b) Cost ot" lmprovements Total (a + b)
$ $ $ $ $ 0.00
Complete this line lf this is a refinance Ioan. _
Year Acquired On`ginal Cost Amount E)dsting Liens Purpose of Retinance Describe lmprovements l l made l to b dc
, . Change |n RatelTerm - No Cash c ma
_ t 4 Out ~ ` -
2004 $200,000.00 $ 0.00 Cost: $
_ Title will be held in what Name(s) M|CHAEL B|_|RRQWS Manner in which Title will be held Estate wm be held
. ‘ ‘ Fee simple
Source of Down Payment, Settlement Charges, `and/or Subotdinate Financing (explain) Leasehold (5

expiration dr

 

 
   
      

       

dean se n ,a.._

Bormwer’s Name (include Jr. or Sr rf amdpplile)
MlCHAEL BURROWS '

Social Security Number ' Home Phone (inc|. area code) DOB (rnm/dd/yyyy) Yrs. School Social Security Number Home Phone (incl. area code) DOB (mm/dd/yyyy) Yrs. Scho~
XXX-XX-XXXX ' (619) 234-4422 11/28/1948 12.0 " l l
' Mam-cd L¥:| unmarried (include sing!c' Dependcnts (not listed by Co-Borrower)

 

 

 

 

 

 

 

 

Married l Unmarried (include single, Dependems (n°t lis‘°d by B°"°w°r)

 

 

 

 

 

 

 

 

 

 

 

Scpamwd dryorced, wrdowed) no l ass Sepamted drvorced, wrdowed) _ nol _ | ach
Present Address (street, city, state, ZIP.) Own l l Rent No. Yrs. Present Address (street, city, state, ZIP) _ Own Rent No. Yrs.
4255 sane srREET uNlr s `
San Diego, CA 92104
Mailing Address, ii` different from Present Address ' ' _ Mailing Address, if different from Present Address
Ifr "' n at present address for less than two years, , ' thefollowing: .
Former Address (street. city, state ZlP) |: Own l kan No~ Yrs_ I~`ormer Address (street, city, state, ZIP) l:| Own \:] Rcm' l No_ yrs'

    
 
 
 

    
 
 

  

1889 l Tll`l§r

 
    

 

 

 

 

 

 

 

 

me &kdd:ss of Employer. l rs. on this job
Yrs. employed in this line . m

of work/profession ofwork'/prof`ession

Positionfl`itle/l`ype of Business Business»Phone (incl. area code) g Position/Title/I`ype of Business l Business Phone (incl. area code)
Freddie Mac Form 65 7/05 _ 1 l Fannle Mae Form 1003

ITEM 73001`1 (osoa) (Page 1 of5 pages) 1 ' - erearooce“- - roomercan:1-aoo-aea

 

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lf employed in current position for less than two years o_ currently employed in more than one position, complete the follow g.-

  
 

       
 
 
 
 
  

    

    

  

Dates (from ~ to) Name & Address of Employer

         
 
 

Name & Address of Employer

Sclf Employed' Datés (ii'orn - to)

Self` Employed

  

Monthly income Monthly Income

       

        
    

ype of Business Business Phone (incl. area code)

  

Position/`i`itle/'l`ype of Business Business Phone (incl. area code)

      

     

Name & Address ot` Employer Dates (li‘om - to) Name & Address of Employer

       
 

Selemployed Selt` Employed Dal“ (h'°"{ ` t°)

  

Monthly income Monthly Income

   
  

    

 

Position/fitle/'I`ype of Business Business Phone (incl. area code)

 
 
 
   

  

Business Phone (incl. area code)

 

Positionfl`itle/'l`ype of Business

         

Gross
Monthly lncome

  
 
  

Comblned Monthly
Housing Expense

 
 
  

      
 
       
   
   
   
    
  
  

Borrower Co-Borrower Present

Proposed

  

0.00
0.00
0.00
0.00
0.00
0.00
0.00

1 798.85

   

see the notice in describe
.,

    
 

*

Self Employed Borrower(s) may be required to provide additional documentation such as tax returns and financial statements

 

Descrlbe Other income Notice: A|lmo‘ny, child support, or separate maintenance income need not be revealed
- ' " if the Borrower (B) or Co-Borr_ower (C) does not choose to have it considered
for repaying this loan. `
B/C ~ Monthly Amount
S

 

 

 

 

 

 
  

   

'I`his Statement and any applicable supporting schedules may be completedjoint|y by both married and unmarried Co-Bon'owers if their assets and liabilities are sufficiently joined so that the`Statemer
be meaningfully and fairly presented on a combined basis; otherwise, separate Statements and Schedules ore required. if the Co-Borrower section was completed about a non-applicant spouse or

   

.. tr ...\ .. r'

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

person, this Statement and supporting schedules must be completed about that`spouse or other person also.
Completed l::l Jointly l X l Not Jointl*
ASSETS cash or Liabilitles and Pledged Assets. List the creditor’s name, address and account number for all outstanding debts incl\
Dcs'cri don M°'k°t V°l“° automobile loans revolving charge accounts real estate loans nlimony, child support, stock pledges, etc. Use continu
p _ sheet, if necessary Indicate by (*) those liabilities which will be satisfied upon sale of real estate owned or
Cash deposit toward purchase held by:v s mgnancing umw subject pmpmy_
Monthly Payment &
LlABlLlTlES ' Months Le{¢ to pay Unpa|d Balanc¢
l£ L '“' ,. a_llsaviggs accounts below
Narne and address of Bank, S&L, or Credit Union Name and address of Comp`any $ Payment/Months $
Acct. no. $ Acct. no.
Name and address of Bank1 S&L, or Credit Union Name and address of Company 4 $ Payment/Months $
Acct. no. l $ ' Ach no.
Name and address of Banle S&L, or Credit Union Name and address of Company $ Payment/Months s
Acct. no. $ Ach no.
Freddie Mac Form 65 7/05 4 _ Fannle Mae Form 1003

lTEM 7300L2 (0508) . » (Page 2 of 5 pages) GreatDocs“‘ - To Order Ca|l: 1-800-968

 

 

 

  

   

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

am ' ’ s . .'

Name and address of Bank, S&L‘, or Credi Union Name and address o Company $ i’ayment/Months s‘
Acct. no.
Stocks & Bonds (Company namc/ Acct. no.
numb¢r.& d€SCT\pilC>n) Name and address of Company $ Payment/Months s
Life insurance net cash value
Face amount: $ Acct. no.
Submal Uquld Assets Name and address of Company $ Payment/Months s
Real estate owned (enter market value
from schedule of real estate owned)
Vested interest in retirement fund
Net worth of business(es) owned Acct. no.
(anach financial S\Bf¢m¢m) Name and address ofCom.pany $ Payment/Months s
Automobi|es owned (make
and ycar)

Acct. no:

Alimony/Child Support/Separate 3

` Maintenance Payments Owed 'to:
Other Assets (itemize)
' lob-Reiated Expense (ci\ild care, union dues, etc.) s
$

 

 

Tota| Assets a.

 

 

 

 

Schedule of Real Estate Owoed (lf additional properties are owned, use continuation sheet)

 

Total Liabiiities b. $

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. . . Amount of Insurance, y ,
§r:°p:glyb:`i:dr;:sld(;::e;n:o:l:;ld’ Ps ‘f pending sale or R Type of Present Mortgages & Gross Mortgage Maintenance, Net Rentaf
g v Property Market Value v Liens Rental lncome Payments Taxes & Misc. income
$ $ ‘ $ $ $ $
Totals $ $ - $ $ $ $
List any additional names under which credit has previously been received and indicate appropriate creditor name(s) and account number(s):
Altemate Name Creditor Name_ Account Number

 

 

 

a. Purchase price

 

 

 

 

 

 

 

 

 

 

 

it` you answer “Yes” to any questions a through l,
please use continuation sheet for explanation

a. Are there any outstanding judgments against you?

b. Have you been declared`bankrupt within the past 7 years?

c. Have you had property foreclosed upon or given title
or deed in lieu thereof in the last 7 years?

d. Are you a partyl to a lawsuit?

e. Have you directly or indirectly been obligated on any
loan which resulted in foreclosure, transfer of title
in lieu of foreclosure, or judgment?

(This would include such loans as home mortgage loans, SBA ioans, home
improvement ioans,' educational loans, manufactured (mobile) home ioans, any

_ mortgage, financial obligation, bond, or loan guarantee if “Yes," provide 4

detaiis, including date, name. and address of Lender, FHA or VA case number,

 

b. Alterations,improvementa, repairs

c. Land (if acquired separately)

d. Ref`mance (incl. debts to be paid ofi)

e. Estimated prepaid items 1,500.00

f. estimated closing costs 6,328.50

g. PM], Mii’, Fundinv Fee

h. Discount (if Borrower will pay) 3,000.00

i. root costs (add mms a through h) 10,828.60
Freddie Mac Form 65 7/05

lTEM 7300\.3 (osoa)

if anyl and reasons for the action.)

(Page 3 of 5 pages)

B__orrower

§§
§§

 

_C______o-Horrowe:

§§
§§

Fannie Mae Form 1003
GreatDocs"‘ - To OrderCa||: 1-800-968»

 

 

      

Co-Borrower
` Yes No

Borrower

   

i. Subordinate financing

 

§ Bomwe'[.$ closing costs paid ` please use coutlnua_tlon sheet for explanation.

 

by Seller f. Are you presently delinquent or in default on any Federal debt or any :] 4 m
other loan, mortgage, financial obligation, bond, or loan guarantee? _
l. Other Credits (explain) b ` lf “Yes," give details as described in the preceding question.

g'. Are you obligated to pay alimony, child support, or separate maintenance?
h. ls any pari of the down payment borrowed?

m. Loan amount (exclude PMI, MlP, i, Are you a co-maker or endorser on a note?
Funding Fee financed) -

 

 

j. Are you a U.S_. citizen?

300’000'~°0 jk. Are you _a permanent resident alien?

 

n. PMI, Mll’, Funding Fee frnanced‘ l l. Do you intend to occupy the property as your primary residenee?
lf“¥es," complete question m below.

Em_mj: ms
mm aea@z
Em:ljj
mm maj

m. l-lave you had an ownership interest in a property in the last three years?

 

 

 

 

 

o. Loan amount (add m & n) ' ' (l) What type of property did you own-principal residence (PR),
~ second hom`e (SH), or investment property (lP)? l pR
3°°.000-0° (2) How did you hold title to the home-solely by yourself (S), .
. p_ Cash fmha Borrower (subtmct j' ky l & jointly with your spouse (Sl’), or jointly with another person (O)? ' S
o from i) ‘
289,171.50

 

Each of the undersigned specifically represents to Lender and to Lender's actual or potential agents, brokers, processors, attomeys, insurers, servicers, successors and assigns and agrees and acknowledges
that: (l) the information provided in this application is true_and correct as of the date set forth opposite my signature and that any intentional or negligent misrepresentation of this information contained in

1 this application may result in civil liability. including monetary damages, to any person who may suffer any loss due to reliance upon any misrepresentation that l have made on this application and/or in
criminal penalties including,_ but not limited to, line or imprisonment or both under the provisions of Title 18, United States Code, Sec. lOOl, et seq.; (2) the loan requested pursuant to this application (the
"Loan") will be secured by a mortgage or deed of trust on the property described in this application; (3) the property will not be used for any illegal or prohibited purpose or use; (4) all statements made in
this application are made for the purpose of obtaining a residential mortgage loan; (5) the property will be occupied as indicated in this application; (6) the Lender, its servicers, successors or assigrs may
retain the original and/or an electronic record of this application, whether or not the loan is approved; (7) the Lender and its agents, hrokers, insurers, servicers, successors, and assigns may continuously
rely on the information contained in the application, and l am obligated to amend and/or supplement the information provided in this application if any of the material facts t.hatl have represented herein .
should change prior to closing of the Loan; (8) in the event that my payments on the Loan become delinquent, the Lender, its servicers, successors or assigns may, in addition to any other rights and
remedies that it may have relating to such delinquency, report my name and account information to one or more consumer reporting agencies; (9) ownership of the Loan and/or administration of the Loan
account may be transfened with such notice as may be required by law; (lO) neither lender nor its agents, brokers, insurers, servicers, successors or assigns has made any representation or warranty, .
express or implied, to me regarding the property or the condition or value of the property; and (l l) my transmission of this application as an “electronic record“ containing my “electronic signature," as
those terms-are defined in applicable federal and/or state laws (excluding audio and video recordings), or my facsimile transmission of this application containing a facsimile of my signature, shall be as
ed`ective, enforceable and valid as if a paper version of this application were delivered containing my original written signature.

Aakno.wkdgcmenl. Each of the undersigned hereby acknowledges that any owner of the Loan, its servicers, successors and assigns, may verify or reverify any information contained in this application or
obtain any information or data relating to the Loan, for any legitimate business purpose thmugh any source, including a source named in this application or a consumer reporting agency.

 

. Borrower's Signature Date

     
 
   
 

Co-Borrower‘s Signature

 

M|CHAEL BURROWS

The following infomration is requested by the Fedetal Govemment for certain types of loans related to a dwelling in order to monitor the lender’s compliance with equal credit opportunity, fair housing and
home mortgage disclosure laws. You are not required to furnish this information but are encouraged to do so. The law provides that a lender may not discriminate either on the basis of this infomration, or
on whether you choose to furnish it. lf you fumish the infomiation, please provide both ethnicity and race. For race, you may check more titan otte designation lf you do not fumish ethnicity, raoe, or sex,
under Federal regulations, this lender is required to note the information on the basis of visual observation and surname if you have made this application in person. lf you do not wish to fumish the
infomtation, please check the box below. (Lender must review the above material to assure that the disclosures'satisfy all requirements to which the lender is subject under applicable state law for the

particular type of loan applied for.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

BORROWER X Ido not wish to fumish this information CO-BORROWER Ido not wish to furnish this information
Ethnlclty: Hispanic or Latino | Not Hisnanic or Latino Ethnlclty: Hispanic or Latino Not Hispanic or Latino
Race: _ American lndian or | Asian l Black or African Arnerican firrea _ Arnerican lndian or ____ Asian l l Black or African American
Alaska Native Alaska Native
:| Native Hawaiian or [:| White m Native Hawaiian or |:| White
Other Pacifrc lslander . Other Pacific lslander
Sex: l | Female 14| Ma|e Sex: l Female 4 l Male
To be Completed by lntervlewer ` ' Interviewer’s Name (print or type) Name and Address of lnterviewer’s Employer
ma premium was taken by: . Da'“'°" M'kk°'$°" - THE LENolNG cENTER
' - Interviewer’s Signature Date 12/19/2006 5963 La Place Court Sfe. 110
Face-to-face interview -
. - Carlsbad, Callfom|a 92008
Marl
Telephone 4
memet lnterviewer‘s Phone Number (incl, area code)
(866) 373-2486
Freddle Mac Form 65 7/05 l ' . ' Faunle Mae Form 1003 7/05

rrEM 7300L4 (asoa) (Page 4 of5 pages) _ Greatom~ - ro order catt:1~aoo-ssa.5775

 

 

Use this condonation sheet if you need more
space to complete the Residential Loan
Application. Mark B f or Borrower or C fc$r
Co-Bon'ower.

MlCHAEL BURROWS
Co-Bon'ower:

     

e|D 46 Paoe' 460f 99 *

Agency Case Number:

 

 

 

Lender Case Numbcr.`
5221600915

 

 

l/We fully understand that it is a I-`ederal crime punishable by fine or impu`sonment, or both, to knowingly make any false statements concerning any of the above facts as applicable under the provisions
ofTitlc 18, Unite;l States Code, Section lOOl, et seq.

 

 

 

 

 

 

 

 

(Page 5 of 5 pages)

Borrower' s Signature Date Co-Borrower’s Signature Date
X
M|CHAEL BURROWS
Freddle Mac Form 65 7/0§ Fannle Mae Form 1003 7/05
lTEM 7300L5 (0508)

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ATTACHMENT“B”

 

 

 

   
  
  
  
 
   

s -~ . . .. OCU ' lL/."rU
` Name cENTER

OUTH STATE COLLEGE BLVD. STE. 120
- 92104 ANAHE|M, CA 92806

ease 3:07-cv-015

 

 

Estimated Cloe|ng Date

 

Loan Ot"cer Damien Mikkelsen

 

   

   

     

6.0000 %; Or|ginatlon Fee
ii "¢§i¥#§it?$'-'§dliitilili-'a

S 4255 33RD STREET UNIT 6, San Diego, CA 92104

The information provided below reflects estimates of the charges which you are likely to incur at the settlement of your loan. The fees listed are estimates
the actual charges may be more or |ess. Your transaction may not involve a fee for every item llsted.

The numbers listed beside the estimates- enera|| correspond to the numbered lines contained in the HUD-1 or i_-iUD-iA settlement statement which you‘v
ng'at settl nt. The HUD-1 or UD-i settlement statement wlii showyou the t | lt l

1.0000 %; Dlscount Fee

 

          
 

 
 

 

Abstract or Title Search

 

 

ANALYS|S OF EST|MATED

 
      

 

SETTLEMENT CHARGES:
1400. Total Estimated ‘
Settlement Charges: $ 8,978.50
Less: Prepald interest `
and Escrowe $ 0.00
-~ q :::::~ - =Other Estimath
Totai Pmt. 1,798.65 Tota| des. Settlement Charges: $ 10,478.50

 

 

TH|S SECT|ON TO BE COMPLETED ONLY iF A PART|CULAR PROV|DEFt OF SERV|CE iS REOUIRED.

- . . require you use. The charges or ranges indicated in the Good Faith'Eetimete above are based upon the
providers. ~

Listed below are providers of service which we
corresponding charge of the below designatec

item N `803

 
   
 

ER »CA-,

 
 

 
     

 
     

;:- relatith
AGREEMENT: -
You acknowledge you have received a copy of the HUD S
property and the tender will lake a iirat lien on the property._

if for any reason the loan you'have applied for does not ciose, and if permitted by applicable |aw.
' incurred to process your application including but not limited to eppra|sai, survey end title insurance

These estimates are provided pursuant to the Fleai Estate Settlement Procedures Act of 1974‘ as amended (RESPA). Additlona| information can be found
in the HUD Spec|e| information Booklet. which is to be provided to you b

pecla| information Bookiet 'Se_tt|ement Costs', if your application is to purchase residential real

you agree to reimburse the lender for any and ali costs

 

 

y your mortgage broker or |ender, if your application is to purchase residential real
property and the lender w||| take a first lien on the property. _ '
APPL|CANT M'CHAEL BuRRoWS DATE APPLlCANT DATE
APPLchNT oArE APPLchNr oATe

 

AUTHORiZED OFFiCiAL garmon Mikkelsen
€~ GREATLAND 1995 GREATLAND |
lTEM 7719Lo (9511) to Orducatl: 1-1100-5:0~9393 iJu 616-791~1131

 

TRUTH- iN- :|:.END|NG D|SCLO_SUR_E F[_iR REAL ESTA`i'E lV|ORTGAGE LO

MlCHAELl ENDlNG CENTER
4255 33RD ~ ' . . 1 SOUTH STATE COLLEGE BLVD. STE. 120
San Diego, CA 92104 _ ANAHE|M, CA 92806 »

S

 
  
 
 

     

ease 3:07`-cv-015

 
  

 
  

 

FR°PERTVAD°RESS 4255 33RD STREET UNIT 6. San Dlego, CA 92104 San Dle

 

    

 

 

 

m Prciimlnary . . [__| Fina|

 

 

 

 

 

~ y 1 AMOUNT F|NANCED TOTAL OF PAYMENTS
'ihe cost of your credit u yearly rato. . The amount ot credit provided to you or orr your barrett The amount you will have mid after you have madE
' payments ls scheduled
e 6.2972% $ 356,843.94 e $ 290,671.50 e $ 647,515.44 e

 

 

 

 

 

   

 

 

 

 

 

f:li?iiiliii¢fa§i€ ifIX]:fNi>.iflilili|i¢i*iii'

The annual percentage rate may increase during the term ot this transaction if the

   

increases P|ease refer to the Adiustab|e Rate Mortgage Docu'ments'tor spec|i

information concerning the variable rate provisions of this transaction The rate may not increase more often than
and may not increase more than % per ad|ustment. Any increase will take the form of
' ' . For exampii

E| This transaction is sub|ect to a variable rate feature and is secured by your principal dwellingv Variable rate disclosures have been provided at an'ear|iertime.

PAYABLE ON DEMAND: \:] This obligation is payable on demand [:] The disclosures are based on an assumed maturity alone year.
Fiiing / Recording Fee $ 100.00

 

Vou may obtain property.insurance from anyone acceptable to the lender

   

Goods being purchased b Funds on deposit with the |ender. '
Other (Spec|fy) Collaterai securing other loans with us may also secure this loan,

 

_ 4255 33RD STREET UN|T 6, San Dlego, CA. 92104

itate§t:'tiiti=it?ié;€r. .
if you are more than Zero days iata ln making any payment in addition to your payment you w||| pay a late charge oi;

[: the lesser of m the greater of |E an amount equal to i:] $ or [:] 5. 000 % of the payment in default.

 

 
  

 
 

 

 

  
   
 
  
 
 
   

. have to pay a penalty.

 

 

 

 

 

may will not be entitled to a refund of part of the finance charge
if this loan is to purchase and is secured by your principal dwelling. and ii checked hera. - [X] someone buying your-
dwelling cannot assume the remainder ot this purchase money mortgage loan on the original terms. `
ii this loan is to purchase and is secured by your principal dwelling. and ii checked here. E someone buying your

dwelling may, subiac`t to conditions, be allowed to assume the remainder_of this purchase money mortgage loan,

 

 

 

 

- P|ease refer to the `Good Faith Estimate' for a breakdown of Please refer to the itemization of'
fees charges and amount iinanced. Amount Flnanced Statement.

 

 

 

 

 

:SIGNAT!L!RES:'

By signing you acknowledge receipt of a completed copy of this disciosure. ¥ou understand that this is not a contract and does not reflect aii of the terms and

conditions o the mortgage transaction to which the disclosures reflected on this form relate

X X

MlCHAEL BURROWS care one

X ' X . _
_/ care . cars

 

 

O GREATLAND 1995 lTEM 9199L0 (9804) GREATLAND ITo Oid¢l Cliij 1-800-530-9393 Uuit 616<791-1\3

 

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ATTACHMENT C

 

Case 3:07-cV-01567-BE - G Document-l Filed 08/09/07 ageiD.Bl Page 51 of99
Unif m Residential Loan Application

This application is designed to be completed by the applicant(s) with the Lender's assistance, Applicants should complete this form as "Borrower" or "Co-Borrower", as
applicable Co-Borrower information must also be provided (and_the appropriate box checked) when I:l the income or assets of a person other than the "Borrower"
(lnc|uding the Borrower`s spouse) will be used as a basis for loan qualification or Uthe income or assets of the Borrower's spouse or other person who has community
property rights pursuant to slate law will not be used as a basis for loan qualification but his or her liabilities must be considered because the spouse or other person
has community property rights pursuant to applicable law and Borrower resides in a community property statel the security property is located in a community property
state, or the Borrower is relying on other property located in a community property state as a basis for repayment of the loan.

if this is an application for joint cr orrower and Co-Borrower each agree that we intend to apply for joint credit (sign _below):

__,__/

     
   

    

Housing Servlce
interest Rate

      

No. of Months
360/360 .
,i . x»l¥i … ; RM»NF `
sf.r te,_d_;lP)

4255 33RD ST#G, SAN ll " ""“~"~<m -~..._...._ 1

Legal Description of Subiec Year Bui|t

see PRELuv_l SOUTHLAND TITLE n 1983

Am<>rti=ation Type: l:lFixed Rate ' ljorher(expiain):
l:lGPM _ __ l¥lARr\/r_ est

  
 
 
 
   

      
  
 
   
 

     
    

    
 
 

`..~»:

:i§~_ r,i;liazs§iie" ‘.»"

   

  

 

 

 

Purpose of Loan |:] Purc - , ` e: -
E| Refil ' esidence E]Secondary Resldence I:]lnvestment
"
Complete this Ilne If con _ ' ' .
Year Lot Original Cos ~ rprovements Totai ‘(aib)

Acquired
$ $
. _@omplete fhls line lf thi;

Year Origina| Cor improvements [:l made l:l to be made
Acquired O . ~
2004 . $ - '

 

 

 

 

Title will be weld in what ' ' itie will be held ' Estate will be held ln:
MlCHAEL BURROWS ' - _ ~ 2d in escrow w Fee Simpie

l:] Leasehold (snow
expiration date)

 

Source of Down Paymer
Equlty from Subject

 

         

1 -. ~ trail `SOUmLANDTITLE-COM _ 1 - ._
Borr w r's Name (include Jr. or Sr. if applicaore; l l z Jr. or Sr.
MlCHAEL `BuRRows 4 ’

Social Security Number Home Phone (incl, area code) DOB (mm/dd/yyyy) Yrs. School Social Security Number Home Phone(inci. area code) DOB (rnm/dd/yyyy) Yrs. School
XXX-XX-XXXX 619-222-6943 - 11/28/1948 18 '

;:.e.:ou"ri.s¢ w
if ap

 

prr"cébie) `

 

 

 

 

 

 

 

 

EMarried MUnmarried (include single, Depend€nfs ('\¢>t listed by C°'BO"OW€F) ij Marrled [:l Unmarried (include single, Dependems ("l€'t listed by BQFFOWSF)
Separated divorced,wldowed) no, 0 l ages 0 Separated divorced,widowed) no. lagos

Present Address (street, city, state, ZiP) lllown l:l Rent 2.6 No_ Yrs_ Present Address (street, city, state, ZiP) . EOwn l:l Rent No. Vrs.
4255 33RD ST#S
SAN DlEGO, CA 92104

 

 

 

 

Maiiingl Address, lfdifferent from Present Address ` Mai|ing Address, ifdiiferent from Present Address

 

If residing at present address for less than two years, complete the followln g: . ' . .
Former Address (street, city, state, Z_lP) l:]OWn [:] Rent 'No_ yrs_ Former Address (street, city, state. ZiP) _ Down .[:] Rent _NO. yrs_ `

 

 

 

 

 

y Former Address (srreer, city, srat'e. zlP) flown i`_`] Rent No. Yrs. Former Address (sfreet. city, state. ZiP) l:lOwn l:l Rent ‘ ' NO. Yrs.

. t f ,, . _ .

Fannie Mae Form 1003 07/05 ' Borrower mg )6 Freddre Mac Form 65 01/05
'CALYX Form Loanapp1.irm 09/05 Pa»ge l‘i of 5 __

Co-Bo rrower

 

 

 

Case 3:07`-cV-O'1567-BE-WVG Document 1

    
   

wm

}§r;:§a atii"§§t dade r.r; leon to
Name & Address of Employer
S.D.S.

8954 RlO SAN DlEGO DR#110

SAN DlEGO, CA 92107

 

Seif Employed

Yrs. on this job ,
4 yr(S) l

z EMPLOM'N

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Yrs. employed in this

 

6

line of work/profession

r§r`r. .t ON tate t

e& Address of Employer

§;, § ideasKNV.BS>"°WF'F~"“
l:l self Employed

 

ma gag ¢',t titth {-,,lq§i;{v?s

 

 

 

 

\i. mind _,Y".'l

l Yrs. on this job

Yrs. employed in this

line of work/profession

 

Positionll'itle/Type of Business
corvrPuTER TEcH`

 

Business Phone (inc|:_area code)
619-682-7290

Position/Title/Type of Business

 

Business Phone (incl. area code)

 

lf employed In current posltion for less than two years or lf currently employed ln more than one poslfion, complete the following:

 

Name & Address,of Employer

l:] Seif Employed

Dates (from-to)

 

Monthly income
$

Name & Address of Employer

l:] Seif Employed

 

Dates (from-to)

Monthly income .

$

 

position/Title/Type of Business

 

Business Phone (incl. area code)

Positioanitle/Type of Business

 

Business Phone (incl. area code)

 

Name 81 Address of Employer

ij self Employed

Dates (from-to)

 

Monthly income

$

 

Name & Address of Employer

l:] Se|f Employed

 

Dates (irom-to)

Monthly income

$

 

Positionfl'itieflype of Business

 

Business Phone (incl. area code) ‘

Position/Title/Type of Business

 

Business Phone (incl. area code)

 

Name & Address of Employer

l___l Self Employed

Dates (from-to)

 

Monthly income
$

Name & Address of Employer

. IJ Self Employed

Dates (from-to)

Monthly income
$

 

Position/Titlefl'ype of Business

 

Business Phone (incl. area code) .

Positionflit|elType of Business

 

 

Business Phone (incl. area code)

 

Name & Addresslof Employer

[:l Self Employed

Dates (from~to)

 

Monthly income
$

 

Name & Address of Employer

I:] Self Employed

 

Dates (from-to)

_N|onth|y income

$

 

Positionl'i'itlelType of Business

 

 

Business Phone (incl. area code)

 

 

Position/Titienype of Business

 

    

Business Phone (incl. area code)

       

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Gross Comblned Monthly
Monthly lncome ' Borrower Co-_Borrower Total Housing Expense Present

Base‘Empi. income* $ 51351_50 $ l $ 5'351_50 Rent $ . _ _.
Overtime 489_00 489_00 First Mortgage (P&|) . 940_00 l $ 1,625_57
Bonuses 530'00 530_90 Other Financing (P&i) 203,00 421_17
Commisslons 'Hazard insurance

'Dividends/lnterest Real Estate Taxes 287_41 237_41
Net Rentai income Mortgage insurance

Other(before com iet‘ . v .

see the notice in "dgscr!irt;ge Homeowner Assn, Dues 128'00 ' 128'00
_ other income," beiow) Othei'Z

Totat $ 6,470.50 $ t $' 6,470.50 T°fal ‘$ 1 ,558.41 $ 2,463.25

‘ Se|f Employed Borrower(s) may be required to provide additional documentation such as tax returns and financial statements.
Descrlbe Other income Notice: Aiimony, child support, or separate maintenance income need not be revealed if the
Borrower (B) or Co-Borrower (C) does not choose to have it considered for repaying this loan
B/C . 4 Monthly Amount
$

 

 

 

 

 

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Page 2 of 5_

Borrowe r
Co-Borrower

Moiz$

Freddie Mac Form 65 07/05

 

 

  
  

    

  

err":'i§‘i" ‘ -
BW:‘R£%>. »,i‘ ’

 

' y

was completed about a non-applicant spouse or other personl this Statement and supporting schedules mu

st be com

. y iities are su icient|
so that the Statement can be meaningfully and fairly presented on a combined basis; otherwise separate Statements and Scheduies are required if the Co-Borrower section

pleted by that spouse or other person.also.

      

   
   
  
 
 

»J, z»l,‘e".'

y joined

 
 
 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   
 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Completed [Z] Joint|y [:] Not Joini|y
~ - ASSETS - Cash °r ' Liabi|ities and Piedged Assets. List the creditor's name. address and account numberforail outstanding
Descnption Market Value . . . . . .
_ debts, including automobile loansl revolving charge accounts, real estate ioans. aiirnony, child support,
Cash deposit tOW_ard $ stock pledges, etc. Use continuation sheet, if necessary indicate by (") those liabilities which will be
purchase held by~ satisfied upon sale of real estate owned or upon refinancing of the subject property.
` Monthly Payment & Unpaid Balance
_ L|AB|LIT|ES Months Left to Pay
List checking and savlngs accounts below Name and address Of Company $ payment/Months , $
Name and address of Bani<, S&L, or Credit Union DOWNEY S&L
US BANK '
Acct. no. 9040707085 * (940) 252,609
' Acct. no. 165100505578 | $ 10,497 WiseHdeGa:gr§s:/| Ef-TCJX"ESW $ Payme"t/Momhs $
Name and address of Bank. S&L, or Credit Union ‘ . ,
Acct. no. 100000000062659 ‘ (203) 30,295
Name and address of Company $ Payment/Months $
Acct. m. l $ CHASE
Name and address of Bank, S&L, or Credit‘Union
Acct. DO- 411816500657 10 /(R) 50
Name and address of Company $ Paym_ent/Months $
Acct. rio. $ `
Stocks & Bonds (Company $
name/number description)
SCOTTRADE ‘ 5,777
Acct. no. -
Name and address of Company . $ Payment/Months $
Life insurance net cash value $
Face amount: $
subtoia'i i_iquid Assets $ 16,274 Acct. m
peat estate owned (enter market value $ Name and address of Company $ Payment/Months $
from schedule of real estate owned) 320 000 4
Vested interest in retirement fund
Net worth of business(es) owned $ `
(attach financial statement) v Acct. no. . .
Automobi|es owned (make and year) $ Alimony/Chi|d Support/Separate $ i'§,`“,' ‘~‘r"
. Maintenance Payments Owed to: §§ t?
. _ stat
Other Assets (itemize)` $ Job-Related Expense (child care. union dues, etc.) $ t'x;l`),v?i j `, `
PERSONAL PROPERTY 50,000 §§§~§§i § §§ .'
. v l jg.» _
t §§ '
Toiai Assets a. s v § j _ 103,320 Tofal Liab"lti% b- $ 282,954
Schedule of Real Estate Owned`.(if additional properties are owned, use continuation sheet) msurance,
Property Address (enter S if so|d_, PS if pending Type of Present ` Amount of Gross Mortgage Maintenance, Net
Sa|@ OF R lfl'ema| bean held fO\' lnCOm€) Property l\/iarket Value Mortgages & Liens Rental income Payments Taxes 81 Misc. Renta| lncome
4255 33RD ST#S .
SAN DlEGO, CA 92104 CONDO $ 320,000 $ 274,500 S $ 1,143 $ 413 $
Tota|s $ 320,000 '$ 274,500 ` $ $ 1,143 $ 413 $
List any additional names under which credit has previously been received and indicate appropriate creditor name(s) and account number(s):
Aiternate Name . ` Creditor Name Account Number

 

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Borrower
Co-Borrower

/l~.-'p

 

ZLSLG

Freddie Mac Form 65 07105

 

 

 

 
   

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, .;fj.‘ _.iiiff.,l§jl§Efj.f`l.'._f§ii.’"@,.e l lie<@ , , `l’ lift ` tip
a_ Purchase price ' $ |f you answer "Yes" to any questions a through l,
b' Anerations’ improvements' repairs n please use continuation sheet for explanation. Yes No Yes N°
C_ Land (if acquired Separa‘e|y) a.‘Are there any outstanding judgments against you? |___] iii |:i |'_']
d_ Refinance (inc|' debts to be paid Off) , . 282’904.00 b. Have you been declared bankrupt within the past 7 years? |:] Q] [:| [:J
e_ Estimated prepaid items l 2 120 31 c. Have you had property foreclosed upon or given title or deed in lieu thereof [:| ill m m
. . ' ' in the last 7 years'?
, f. Estimated closing costs 4 111886_00
g_ pM|l M|p‘ Funding Fee d. Are yOU‘S paliyiO 8 iaWSUif? m M l E E
h_ Discoum (if Borrower Wi" pay) _ e, Have you directly or indirectly been obligated on any loan which resulted in [:] w E] E|
l T . foreclosure, transfer of title in lieu of foreclosure, orjudgment?
' Ota| costs (add gtems a through h) 295,910.31 (This would include such loans as home mortgage ioans, SBA loans, home improvement
~ ' ~ loans, educational |oans, manufactured (mobile) home loansi any mortgage, financial
]' Subord|nate financan 471000~00 obligation. bond, or loan guarantee. lf ”Yes," provide delails, including dalel name and
k_ Borrower'$ Closjng Cosrs paid by Se||er address of Lender, FHA or VA case number, if any, and reasons for the aclion.)
|' Other Credits (explain) . y f. Are you present|y_delinquent or in default on any Federal debt or any other [:] [_`_Li [:] \:]
loan, mortgagel financial obligation. bond, or loan guarantee?
lf "Yes," give details as described in the preceding question.. .
g. Are you obligated lo pay alimony, child support or separate maintenance? [:] [z] |:] |_'_]
h. ls any part of the down payment borrowed? |:] [I] [] [:]
i. Are you a co-maker or endorser on a note? [:] ill [___] [:|
New 2nd Mtg C|osing Costs -251.40 j Are you a U_ S Citizen? , w m [:] [:|
m. Loan amount (exclude PMl, MlP, k. Are you a permanent resident alien? ~ [:I 133 E] [:i l
Fundmg Fee nnanced) 256,000.00 l. Do you lntend to occupy the property as your primary residence? ill [:] ‘ ij [:|
n_ pit/lil M|p‘ Funding Fee financed lf"Yes." complete question m below.
4 m. Have you had an ownership interest in a property in the last three years? m |:] [] []
0_ Loan amount (add m & n) ` (1) What type of property did you own-principal residence (PR), pR l
. - ., .
v y 2561000'00 second home (SHi, or investment property (lP). _ ____
pl Cash from/to Borrower (subtrac( j’ k' l &_ (2) l~low did you hold title to the horne-solely by yourself (S), s
0 from r) _5 838.29 jointly with your spouse (SP), orjointly with another person (O)? __

 

 

 

   

            
     

~ t . ii…,‘.iy trigger i.,¢,, Wg * . ,., ` ` us .
Each of the undersigned specifically represents to Lender and to Lendei’s actual or potential agents. brokers, processors, attorneys, insurers, servicers, successors and assigns
and agrees and acknowledges that: (1) the information provided in this application is true and correct as of the date set-forth opposite my signature and that any'intentiona| or
negligent misrepresentation of this information contained in this application may result in-civi| liability, including monetary damages to any person who may suffer any loss due to
reliance upon any misrepresentation that l have made on this application. and/or in criminal penalties inciuding. but not limited to, fine or imprisonment or both under the provisions
of Title 18. United States Code, Sec. 1001, et seq.; (2) the loan requested pursuant to this application (the "l_oan") will be secured by a mortgage or deed of trust on the property
described in this application; (3) the property will not be used for any illegal or prohibited purpose or use; (4) all statements made in this application are made forthe purpose ofobtaining a
residential mortgage loan; (5) the property will be occupied~as indicated iri this application; (6) the Lender. its servicers, successors or assigns may retain the original and/or an
electronic record of this application, whether or not the Loan is approved; (7) the Lender and its agents, brokers, insurers. servicers, successors and assigns may continuously
rely on the information contained in the application, and l am obligated to amend and/or supplement the information provided in this application if any of the material facts that l
have represented herein should change prior to closing of the Loan; (8) in the event that my payments on the Loan become delinquent the Lender, its servicers, successors or assigns
may, in addition to any other rights and remedies that it may have relating to such delinquency, report my name and account information to one or more consumer reporting agencies; 1
(9) ownership ofthe Loan and/or administration of the Loan account may be transferred with such notice as may be required by iaw; (10) neither Lender nor its agents, brokers. insurers.
servicers, successors or assigns has made any representation or warranty. express or implied, to me regarding the property or the condition or value of the property; and (11) my
transmission of this application as an "electronic record" containing my "e|ectronic slgnature," as those terms-are defined in applicable federal and/or state laws (excluding audio and
video recordings). or my facsimile transmission of this application containing 'a facsimile of my signature. shall be as effective, enforceable and valid as if a paper version of this
application were delivered containing my original written signature. ‘ - '

    

A¢;i;n_m¢:£|e_dgg>‘mg_ritL Each of the undersigned hereby acknowledges that any owner of the Loan, its servicers, successors and assigns, may verify or reverify any information contained
in this application or obtain any inforWn or data-relating to the Loan, for any legitimate purpose through any source. including a source named in this application or a consumer

reporting agency. ,,- , ,\ ¢
‘ x i‘ ‘ ‘ 4 ""iti>* ~i
….r‘£x r“é=ii. ,t". ,. ,.»: t=”:r‘,“i'.~§§z'

Borrower's W '
'£. » . ¢i,-\i..
rder to monitor the |ender's compliance with equal credit

ormati
opportunity. fai 'nd home mortgage disclosure laws. You are not required to furnish this information, but are encouraged to do so. The law provides that a Lender may
not discriminate ` - ~. on the basis of this information, or on whether you choose to furnish it. lf you furnish the information, please provide both ethnicity and race. For race, you
may check more than one designation lf you do not furnish ethnicity, race, or sex, under Federa| regulations, this lender is required to note the information on the basis of visual
observation and surname if you have made this application in person. |fyou do not wish to furnish the information, please check the box below. (Lender must review the above

   
 
 

   
 
 
 
  

         
   
 

Co-Borrower‘s Signature

  
 
   

   
   
 

  
  

    

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ess-iii

  
   
 
 

   
 

 

 

 

 

 

 

 

 

 

 

 

 

 

material to assure that the disclosures satisfy all requirements to which the lender is sub ect undegpplicable state law for the particula_r_type of loan applied for.)
BORROWER l I:i l do not wish to furnish this information CO-BORROWER [:l l do not wish to furnish this information
Ethnicity: i:l Hispanic or Latino ill Not Hispanic or Latino Ethniclty: ij Hispanlc or Latino ' i:] Not Hispanic or Latirio
Race: i:]American indian or I:] Asian ij Black or Race: g American indian or ` [:i Asian y l:] Black or
_ v Alaska Native ' African Amerlcan 4 Alaska Native ~ African Amerlcan
Native Hawaiian or White ' Native Hawaiian or White
[:] Other Pacific ls|ander 50 m Other Pacitic ls|ander |:]
Sex: i:i Female ill Male Sex: i:] Fema|e , m Male
To be Completed by |n¢érviewer lnterviewer's Name (print or typ Name and Address of lnterviewer's Employer
This application was taken by: HR|ST|MSAM|TH/`_ ,( , | GOLDEN VALLEY LENDlNG GROUP
m Face-to-face interview té\qe`%i\¢\{;{ré-)kw\(\\/ 4 \/L %j O/) 830 E.V|STA WAY#'| 19 .
ij lV|aii . . i i V|STA, CA 92084 '.
ET€i€phOne lnterviewei!'s f>hone Number (inci."area code) ' , (P) 760-407-1717 i
Ci internal v760-407-1717 ` ` (F) 760-407-1722 -

 

Fannle Mae Form1003 07/05

_ . Freddie Mac Form 65. 07/05
CALYX Form Loanapp¢i.frrn 09/05 Page 4 of 5

 

 

 

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l ` o$iévhniiiii~ _. z , _ ,‘ , .i , . 1 . ,i t d ;'-< i" .:ii.hi~‘ ii.
Use this continuation sheet if you need Borrower: ' i_Agency Case Number:
more space to complete the Residential MlCHAEL BURROWS ' , .
Loan Application. Mark B for Borrower or CO_BO"OWer; Lender Case Number;
C for Co-Borrower.

 

 

 

 

,.

 

 

l/We fully understand that it is a Federa| crime punishable by fine or imprisonment, or both, to knowingly make any false statements concerning any of the above facts
as applicable under the provisions of Title 18, United States Code Section 1001, et seq.

Borrower' s ig ature <); Co-Borrower‘s‘Signatur_e _ Date
/ (47… X
\' .) l .

Fannie Mae Form 1003 07/05

 

 

 

 

 

Freddie c Form 07/05 . Page 5 of 5
CALYX F rm Lna cnt. frm 09/05 _

 

 

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FA|TH ES
App|icant MICHAEL BURROWS A`pplication No: BURROWSO107
Property Addr: 4255 33RD ST#G, SAN DlEGO, CA 92104 Date Prepared: 12/13/2006
Prepared BVZ GOLDEN VALLEY LENDlNG GROUP Ph. 760-407-1717 4 Loan Program': 5 YEAR ARM

830 E.V|STA WAY#119, V|STA, CA 92084

Tho information provided below reflects estimates of the charges which you aro likely to incur at the settlement ofyour loan, Tho tons listed aro estimatus~actua| charges
may bo more or lnss. Vour transaction may not involve a foo for every item l|stod. The numbers listed _beslde the estimates generally correspond to the numbered lines
contained in the HUD-1 settlement statement which you will be receiving at settlement. The HUD-1 settlement statement will show you the actual cost for items paid at settlement

     
 
     

     
 
 
  

       
 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   
 

       

 

 

 

 

 

 

 

TotalLoan Amount $ 256,000 interest Rate: 7.625 °/n Term: 360 / 360 mths
Rmiii£§i§éwh" E iii"”o' ` ' - `o_i"fi,i"iiii 'MfMWMBBUUW ' ~ ~' ' ' Mii t
801 Loan Origlnation Fee 2.000% ` - ' 5,120.00 4
802 Loan Dlscount ' .
803 Appraisal Fee ' (450.00) 4 4
804 Credit Report t 20.00 4
805 Lenders inspection Fee .
808 Mortgage Broker Fee + $ 960.00 960.00 4
809 Tax Related Service Fee , 67.00
810 Processing Fee 1 695.00 4
' 811 Underwriting Fee - 950.00 4
812 Wire Transfer Fee 25.00 4
10.00
Miw TJBMHM§BWML ‘ '. '".&“.YKE~."“BM "“"i”"§?§`.;~ ' -F
1101 C|oslng or Escrow Fee: $ 495.00 4
1105 Document Preparatlon Fee ’ 100.00 4
1105 Notary Fees ' 150,00 4
1107‘ Attorney Fees
1108 Title lnsu'ranoe; 1.609.00 4
' WlRE ` 25.00 4
MlSC ESCROW/ PAD 4 360.00 4

 

 
    
 

   

1202 City/County Tax/Stamps:
1203 State Tax/Stamps:

 

 

      

Pest inspection h $
lNSURANCE PAD 1,200.00 4

1302

 

 

 

Estlmatod C/osln Costs 11,886.00

  
 

   
   

 

 

 

 

 

    

 

 

 

 

 

 

 

 

901 interest for 2 days @$ 54.2222 per day $ 108.44 4
902 Mortgage insurance Premium
903 Hazard insurance Premium ` 4
904 7
. 905 VA Furiding Fee
, . .;' _, g , '» _ z ‘ §
1001 Hazard insurance Premium 0 months @$ ` per month $
1002 Mortgage |ns. Premium Reserves months @ $ per month
1003 Schoo| Tax months @ $ - per month
1004 Taxes and Assessment Reserves 7 months @L 287.41 per month 2,011.87 4
1005 Flood insurance Reserves months @ $ per month '
' months @ $ per month
' mnlhs@$ . per month
" " d Prepald Ifems/Reservos ~ 2,120.31

 

 

  

TOTAL ESTlMATED SETTLEMENT CHARGES _ ~ 14 006.31

 

 

 

 

 

 

Total Est. Funds to you 5 838,29 Total Monthly Payment 2 463.25
This Good Faith Estimate is being provided by GOLDEN VALLEY LENDlNG GROUP , a mortgage broker, and`no lender has
» been obtained Thosa estimates are provided pursuant to tho Rn:il Estate Sottlomunt Procedures Act of 1974,`as amended (RESPA). Add|llonal information

can be found in the HUD Speclal lnfonnatlon Booklet, which ls to be provided to you by your mortgage broker or lendor, if your application is to purchase
residential real property and the lender will take a first lien on the proporty. The undersigned acknowledges receipt of the booklet "Settlement Costs,' and ll applicable

the Consumor Handbook on ARM Mortgages.

Appiica'ni MiciiAEL euRRow`s\'y l time Appiicani ' bare

Calyx Form gfe,lrm 11/01

 

 

 

Case 3:07-CV-01567-CBA1LEN- W§RE Document 1 Filed 08/09/07 age|D.57 Page 57 of 99
MOR E LOAN DISCLOSURE STATEMENT/GOOD FAI STIMATE Date Prepared:12/13/2006

Borrower's Name(s): MICHAEL BURROWS

Real Property Coliateral: the intended security for this proposed loan will be a Dccd of Trust on (street address or legal description)

4255 33RD ST#B SAN DlEGOl CA 92104 l

This joint Mortgage Loan Disclosure Statement/Good Faith Estimate is being provided by GOLDEN VALLEV LENDING GRDUP

a real estate broker acting as a mortgage broker, pursuant to.thc Federal Real Estate Settlement Procedures Act (RESPA) and similar California law.
in a transaction subject to RESPA, a lender will provide you with an additional Good Faith Estimate within three business days of the receipt of
your loan application You will also be informed of material changes before settlement/close of escrow. The name of the intended lender to whom
your loan application will be delivered is: 1 -

 

E] Unknown ill ro eE eeTERMiNEo (Name orlender, if known)

GOOD FAITH ESTIMATE OF CLOSING COSTS

The information provided below reflects estimates of the charges you are likely to incur at the settlement of your loan. The fees, commissions,
costs and expenses listed are estimates; the actual charges may be more or less. Your transaction may not involve a charge for every item listed
and any additional items charged will be listed. The numbers listed beside the estimate generally correspond to the numbered lines contained
in the HUD-1 Settlement Statement which you will receive at settlement if this transaction is subject to RESPA. The HUD-1 Settlement Statement
contains the actual costs for the items paid at settlement When this transaction is subject to RESPA, by signing page two of_ this form you are
also acknowledging receipt of the HUD Guide to Settlement Costs.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

HUD-1 Item ' Paid to Others Paid to Br`oker
800 Items Pnyable in Connection with Loan
801 Lender‘s Loan Origination Fee 2.000% $ -3 840.00 $ 8,960.00
802 Lendcr's Loan Discount Fee $ 5
803 Appraisal Fee $ (450.00) $
804 Credit Report $ 20.00 $
805 Lender's Inspection Fee $ '$
808 Mtg Broker Commi_ssion/Fcc + $ 960.00 $ $ 960.00
809 'I`ax Service Fee ' $ 67.00 $
810 Processing Fee $ ' 695.00 $ `
81 l Underwriting Fee $ 950.00 $
812 Wire Transfer Fee $ 25.00 $ ~
_ $ 10.00 $
___ $ $
_ $ $
_ $ $
' ___ $ $
_ $ $
_ $ $
_ $ $
900 Items Required by Lender to be Paid in Advancc
901 Int¢resc for 2 days at $ 54.2222 per day $ 1`08.44 $
902 Mortgage Insurance Premiums ' $ ~ $
903 Hazard insurance Premiums $ $
904 County Property Taxes $ $
905 VA Funding Fee $ $
_ $ 8
1000 , Reserch Depositcd with Lender '
1001 Hazard lnsurance: _0 months at $ /mo. $ S
1002 Mortgage lnsurance: _ months at $ /mo. $ $
1003 School Tax: _ months at $ /mo. $ $
1004 Co. Property Taxes: _7__ months at $ 287.41/mo. $ 2,011.87 $
1005 Flood Insurance: __ months at $ /mo. $ $
_ _ months at $ /mo. $ $
_ _____ months at $ /mo. S $
_;___ $ $
1100 . Title Charges
l 101 Settlement or Closing/Escrow Fce: $ 495.00 S
l 105 Document Prcparation Fee $ 100.00 $
l 106 Notary Fee $ 150.00 $
l 108 Title insurance: $ 11609.00 $
__ wlRE $ 25.00 $
___ MlSC ESCROW/ PAD $ 360.00 $
__ .` $ $
___ ' $ S
1200 Government Recording and Transfer Charges
1201 Recording Fecs: $ 100.00 $
1202 City/County Tax/Sta.mps: 1 $ $
__ $ ‘ $
_ $ ' $
__ $ $
1300 Additionnl Settlement Charges
1302 Pcst inspection $ $
__ leuRANcE PAD s 1,200.00 $
_ $ S
____ $ $
_' $ $
___ $ $
Subtotal of lnltial Fees, Commlssions, Costs.and Expenses ~$ 4,086.31 $ 9 920.00

Total of Inltiai Fecs, Commissions, Costs and Expenses $ 14 006.31

Compcnsation to Broker (Not Pold Out of Loan Proceeris):
Mortgage Broker Commission/Fee: . $
Any Additional Compensation from Lender l?_l No [:] ch $ (lfknown)

cainForm-mtdst.rnn(m/oe) Page 1 of 2 1

 

 

 

 

 

Case 3107-Cv-01567-BEW~G Dasaaaaiaalaa%%q§a? -aa€tfi~,§¥m'i’aaa§@ Of 99

 

 

(THIS lS NEI'I'HER A CONTRACT NOR MMITMENT TO LEND)
Appli_cam§: MICHAEL BURROWS Prepared By; GOLDEN vALLEY LENDlNG GRouP
830 E.V|STA WAY#119
Property Address: 4255 33RD ST#G V|STAl CA 92084
SAN DlEGO, CA 92104 760-407-1717 .

Application No: BURROWSO107 Date Prepared: 12/13/2006
ANNUAL PERCENTAGE FINANCE v ` AMOUN'I` TQTAL OF
RATE CHARGE ` FINANCE D PAYM ENTS
'I`lie cost of your credit as a yearly The dollar amount the credit will The amount of credit provided to The amount you will have paid
rate cost you you or on your behalf after making all payments as

` scheduled
1 ' 16.917 % $ ‘ 1,619,797.56 $ " 242,070.69 $ " 1,861,868¢25

 

 

 

 

l:l REQUTRED DEPOSIT: 'I'he annual percentage rate does not take into account your required deposit
PAYMENTS: Your payment schedule will be:

    
 
   
        

  

." ' :'w,~r ~':
- “,rat>§rtsf,w”
\meuls§ ”j

  

   
    

 

 

1,626.67 1 03/01/2007
3,797.77 03/01/2012
16 04/01/2012
1 5,798.60

   

 

DEMAND FEATURE: This obligation has a demand'feature. ' . .
VARLABLE RATE FEATURE: This loan contains a variable rate feature. A variable rate disclosure has been provided earlier.

CREDIT LIFE/CREDIT DISABILITY: Credit life insurance and credit disability insurance are not required to obtain credit,
and will not be provided unless you sign and agree to pay the additional cost.

 

 

 

 

 

 

 

Type ' Premium Sigualure

Credit Lif`e I want credit life insurance. ‘ Signature:
Credit Disability - _ l want credit disability insurance. 4 Signature:
Credit Lif`e and Disability l want credit life and disability insurance. Sigxiamre:

 

 

lNSURANCE: The following insurance is required to obtain credit
|:l Credit life insurance [:] Credit disability Property insurance [:l Flood insurance
You may obtain the insurance from anyone you want that is acceptable to creditor

[: lf you purchase '@ property \:] flood insurance from creditor you will pay $ 1,536.00 for a one year \¢\'m~
SECURI'I`Y: You are giving a security interest in: 4255 33RD ST#G. SAN DlEGO CA 92104
m The goods or property being purchased Real property you already own.
FILING FEES; $ 100.00
LATE` CHARGE: If a payment is,more than 15 days late, you will be charged 5.000 % of the payment
PREPAYMEN'I`: If you pay off early, you l
l:{] may ' [] will not have to pay a penalty.
m may will not be entitled to a refund of part of the finance charge
ASSUMPTION; Someone buying your property -
may ' m may, subject to conditions E may not assume the remainder of your loan on the original terms

See your contract documents for any additional information about nonpayment, default, any required repayment in full before the scheduled date
and prepayment refunds and penalties '

* means an cstimnte` m all dates and numerical disclosures except the late payment disclosures are estimates

 

 

 

* ° NO’I'E: The Payments shown above include reserve deposits for Mortgage lnsurancc (if applicable), but exclude Property Taxes and Insuranee.

RECEIVING A OMPLETED COPY OF THIS DlSCLOSURE.

low

THE UNDERSIGNED ACKNOWLE

Wy%@»[

  
 

 

 

 

 

`MicHAEL BuRRows \'/ (App\iwnf) ' (Dvl'¢) _ (Appli€an!) (Dvl<=)
(Applicant) (Date) (Applicant) . (Date)
(Lender) (Date)

Ca|yx Form - tit.hp (02/95)

 

 

 

 

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Borrower Signature Authorization

Privacy Act NOthe:This information is to be used by the agency collecting it or its assignees ln determining whether you qualify as a prospective mortgagor under
its program. lt will not be disclosed outside the, agency except as required and permitted by law. You do not have to provide this information, but if you do not your
application for approval as a prospective mortgagor or borrower may be delayed or relected. The information requested in this form is authorized by Title 38, USC,
Chaptefeil')§gp(`;f|:V/;)A)by 12 USC, Section 1701 et. seq. (if_ HUD/FHA); by 42 USC, Section 1452b (if HUD/CPD); and Title 42 USC, 1471 et. seq.', or 7 USC, 1921 et.
seq. (i m . - . .

 

            

`\Wr*‘i’~ 'I\‘i!’¢\t y'*’ ' ' ' `w, A;'».r',x 5 ,. l!:it'.t . 'Wf' ‘.‘=)s! . z . iv ¢, ~;,*‘.~ \, ,~. ~ mv z
tit ».l §§erier... . .. mii;.iiir;iiiii?i*”""‘i street xii -- ~ », . .,W€irieiitietiiti§
1. Borrower ' 2. Name and address of Lender/Broker

MlCHAEL BURROWS 4 ' v GOLDEN VALLEY LENDlNG GRQUP
830 E.V|STA WAY#119

4 D
255 33R 4 ST#€ v|sTA, CA 92084

 

SAN DlEGO, CA921°4 ' TEL: 760-407-1717 Fsz 760-407-1722
3. Date 4..Loan Number ' '
12/13/2006 BuRRowso107

  

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§ » sir§§§§)§ii§’z§ii§§§\‘.H""s.iir;i§§’§§?t§§:§i¥ii§;.im.'§r»:t§§~,~?5€:.¥€§§5;&

rnv " wm .

iB<M§l§iii 'I§r,i‘é>..-Ws;r. v _fiiri§@;’fii!iitiiiiei* ;'~1

    

l hereby authorize the Lender/Broker to verify my past and present employment earnings records, bank accounts, stock
hoidings, and any other asset_ba|ances that are needed to process my mortgage loan application l further authorize
the Lender/Broker. to order a consumer credit report and verify other credit information, including past and present
mortgage and landlord references lt is understood that a copy of this -form\wi|l also serve as authorization.'

The information the Lender/Broker obtains is only to be used in the processing of my application for `a mortgage ioan.

WM@,_\ irwin "

Borrower 'MchAEL BuRRows / ssN: 553§0->643 Date

 

 

 

Ca|yx Form - bsa.hp (10/98)

 

Case 3:07-cv-'O_1567-BEN3/VG, Docume_nt 1 Filed 08/09/07‘agelD.60 Page 60 of 99 '

' ATTACHMENT "‘D”

 

 

 

  

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…¢ .__.i ,. m§§m..~. _ esa §§
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M . sr Hi_._¢w§we§¢ M.B!al§ _ . _Tr~ v ¢S W
..m § § w......._......i.._ , , § §§ _ __e.m
w . 84 .u_zr££#l E§SMM . . .
m §s...__a§§,x l _ 2213 §§ §§ m
G . lu._.d¢ .§¢!I:._mm .:¢B¢>m.§§ ¢ ¢. . ._ ._»
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…_¢ . § §im.__..-.w.»..”......m.m..mimi, t _\_ §s ssa _.§ , a ,
W ._ 4 SWHOHHNNQHN . . C.FMM> . .W
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_m_ I_t , . . _ . _ _ _ 85 §§ w
M. . .. §§ ~\QB.& do _.,...`..J.r.,_._,o. q.._.nu___._.,.:ro M.
er o BB§;EE §§ _ ee@m-§-§ sa.%_ww“$~\~m_ w

 

 

Case 3:07-cV-01567-BEN¥VG DoC-ument 1 Filed OS/OQ/O?‘age|D.€Z Page 62 of 994

 

_   ATTACHMENT “”E

 

 

 

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NoTlcE oF R|GHT To cANcEL

lLENDERIOpt:eum Financial Seervices-, LLC -

 

BoRRowERs/owNERs Michael Burrows

ADDRESS 4255 33RD Stz.‘eet #6

ClTY/STATE/Z|PSan Diego, CA 92104 5
PROPERT¥ 4255 33RD Stx.'eet #6, San Diego, CALIFORNIA 92104 S!an Diego

YOUR R|GHT TO CANCEL

You are entering into a transaction that will result in a mortgage/lien/security interest on/in your home Y~ou'
have a legal right under federal law to cancel this transaction without cost, w'ithin THREE BUS|NESS DAYS from
whichever of the following events occurs last

(1) The date of the transaction, which is January 25, 2007§ ; or
(2) The date you received your Truth in Lending disclosures; dr
(3) The date you received this notice of your right to cancel.

|f you cancel the transaction, the mortgage/lien/_security interest is also cancelled. Within 20 CALENDAR DAYS
after we receive your notice we must take the steps necessary to reflect th fact that the mortgage/|ien/security
interest on/_in your home has been cancelled, and we must return to you any m ney or property you have given to us
or to anyone else in connection with this transaction \

You may Keep any money or property we have given you until we have done the things mentioned above but
you must then offer to return the money or property. |f it is impractical or unfa'ir for you to return the property you
must offer its reasonable value You may offer to return the property at your hotne or at the location of the property.
lV|oney must be returned to the address below |f we do not take possession|of the money or property within 20
CALENDAR DA¥S of your offer you may keep it without further obligation

How To cANcEL

 

|f you decide to cancel this transaction, you may do so by notifying us in writing at: y
Opteum Financia| Services, LLC
W'l15 Century Road Paramus, NEW JERSEY 07652
ATTN: RES_C|SS|ON DEPARTMENT ;
You may use any written statement that is signed and dated by you and states your intention to cancel or

you may use this notice by dating and signing below. Keep one copy of this notice because it contains important
information about your rights.. l §

if you cancel by mail or telegram you must send the notice no later thah lV|lDNlGHT of la w 0
(or lVll[)N|GHT of the TH|RD BUSINESS DAY following the latest of the three events listed

ove) if you se er your written notice to cancel some other way, it must be delivered to the above
address no later than th t t1m

|WlSH TO CANCEL '
fw 2/27 /07

siGNATuRE 1 ' / / ' § , DATE

The undersigned each acknowledVeceipt of two copies of NOT|CE of R|GH!T TO CANCEL and one copy of the
Federa| Truth in Lending Disc|osure tatement. ‘

  
   

 
    

 

 

 

 

Each borrower/owner in this transaction has the right to cancel The exercise of this right by one borrower/owner shall
be effective to all borrow /owni=rs . _ _ 1

`-'" //2!/@7

aoRRowER/ovw ' DATE BoRRowER/owNER ~ ’ -` DATE

_ BORROWER/OWNER ` ` ' DATE BORROWER/OWNER ' DATE

, 1111111111111111111111111111111111111|1’

@r-M 10010) vivip MoRTeAce Fomvls -13091521.7291

Case 3:07-cV-01567-BEWVG Ddcument 1 Filed OEB/OQ‘/O?‘<'J\Qe|D.€SAf Page 64 of 99

ATTACHMENT “”F

 

   

55€"0“’ SF/\’WCFS' ”V¢ 707 nsmndido Av¢. ` sum 206 ~ vista cA 92084 - (76'0) 630-1198 ~ Fax (760)' 630-1351

 

BORROWER sTATEMENT ~ `
Estimated

Escrow Numbcr: 016155~KM Title Order Number: 15237072
Escrow Officer: Karen Maule Date: _ 01/25/2007 - 3130:00PM
' Closlng Date: , ' 01/3]/2007

Borrower: . Michael Burrows

Property: 4255 33rd Street, #6, San Diego, CA 92104

`fcr
Fee on lst:

Sub Escrow Fee: Alliance Title

Title
ee: Alliance e

Escrow Fee
W

New to
Taxes for 7 s .41: Services

Interest Adjustment From 1/31/2007 'I'o 2/01/2007, 2 Days, @ 53. 4795/per day: Opteum
Finzmcial

T

Services

V
F Golden V

New to Financihl
Interest Adjustment From 1/31/2007 To 2/01/2007, 2 Days, @ 13.1986/per day: Opteum

Fec: Financial

Pn'ncipal Balance ` 250,929.08
Interest Per Diem From 1/01/2007 To 2/02/2007, 31 Days, @ 50. 5065 1,565.70
Statement / Demand Fee 60
Reco_nveyance Fee 45 ,
Recording Fee `

P . W .
'Principal Balance . 29,899.60
Interest Per D1'em From 1/01/2007 To 2/02/2007, 31 Days, @ 12. 4770 _386.
Reconveyance Fee _ 9.00
T Loan

 

 

 

 

\ ' .
Case 3:07-cV-01567-BE_'WVG Document 1 Filed 08/09/07‘>age|D.66 Page 66 of 99

‘ §§z:‘t

E.',~`CPOW SERW<,E.S`. INC.

     

707 Estondido'A\'c. ' Su|tc' 206 ‘ Vistx\ CA 92084 - (760) 630-1198 ' Fax (760j 630-1351

BORROWER STATEMENT
Estimated

Escrow Number: 016155-KM
Page 2

Fee: To Determined

BALANCE D Y
'l`O'l`

 

Michael Burrows

THIS IS AN ESTIMA'I"ED CLOSING STATEMENT FIGURES ARE SUBJECT 'I`O CHANGI§

 

    
 
 
 

‘ §A se 2502-0265`

  

 

2. 1:1 FHMA 3. [X] coNv.UNrNs.
5. lj coNv.rNs.

6. FILE NUMBER: 7. LOAN NUMBER
016155-KM l‘707104080
8. MORTGAGE lNS. CASE NO.:

C. NOTEE This form is filmished to give you a statement of actual settlement costs. Amounts paid to and by the settlement agent are shown. Items
marked "(p.o.c,)" were paid outside the closing; they are sh`own here for informational purposes and are not ` ' 1 * in the totals.

D. NAME & ADDRESS

 

 

 

v

Michael Burrows 1'

 

 

 

OF BORROWER: 4255 33rd Street, #6, San Dieg'o, CA 92104
E. NAME & ADDRESS E
OF SELLER: 11
F. NAME & ADDRESS Opteum Financial Services, LLC
OF LENDER: 27422 Portolo Pnrkway, Suite ~200, Foothill Ranch, CA 92610

 

G. PROPERTY LOCATION: 4255 33rd Street, #6, San Diego, CA 92104 ~
H. SET'I`LEMENT AGENT: Asset Escrow Services, Inc. =‘. 1 f
PLACE OF SE'I'I`LEMENT: 707 Escondido Avenue, Suite 206, Vista, CA 92084 (760) 630- 1198

   
 

I. SETI'LEMENT DATE: Final

100. Gross Amount Due From Borrower:
101. Contractsules

102, Personal

103. Settlement to borrower.

104. o & Loan

lOS. o Mutual

106. taxes
107. taxes
108. Assessments
109. '
v 110.
1 l 1.
112.
113.
l 14.
115.
116.

120. Gross Amount Due From Borrower:

201. or earnest

2021 amount of new

203. taken

204. Amount Of2nd loan
-205.

206.

207.

208.

209.

Adjustments For Items Unpald By Se|ler:
taxes - to
taxes ' ' to
.Assessments ~ to

220. Total Pald By/For

301. Gross amount due from borrower
302. Less amount borrower

303. Cash ([:]FROM) tlzh`o) Borrower:

Previous Edition ls Obso|ete ' .
Form No. 1581 ' 1
3/86 ‘

400. Gross Amount Due To Seller:
401. Contract sales

402. Personal

403.

404.

405.

406. taxes
407. taxes
408. Assessments
409.

41

41 1.

412.

413.

41

415.

416.

420. Gross Amount Due To Seller!:

501. Excess

502. Settlement ` to seller 1
503. taken to
504. lst Ln.

505. Ln.

506.

508.
509.

Adjustments For Items U

510. taxes
511. taxes
512. Assessments
513.
514.

l .
516.
517.
518.
519.

By Seller:

520. Total Reductions _
In

601. Gross amount due to seller
602. Less reductions in amount due seller

603. cash <1:110) ([]FROM) _ 0.00

saa-ssas-ooo-r
HUD-1 (z-se) .
RESPA. Ha 4305.2

   

Pagc 1 of 2

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Case 3:07-cv-0 , 'umeml Fil:egl 03/09/07 l<eu;,jelD.<aS mme

Borrower's ' Seller's
Funds Funds
1_ , . At _At
_ ; Settlement Settlement

1107. Attomey's fees to b _l

' (includes above item Numbers:

l 108. Title insurance to Alliance Title Company
' above item Numbers:

Form No. 1582 1 § Pag¢zorz 1 ' .' sa4-zsas.ooo.1

 

 

 

 

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A HMENT TO HUD l » v Escrow No.: _ 016155- KM
Sett ement Date: 2/01/2007 _ _ Title No.: 152383 82 l
’ ' Page: 1
EXHIBI'I` A: (HUD Section 1001 _ Buyer Amount Seller Amount
Gross Amount Due From Borrower - Loan Payoff Breakdown:
Downey Savings & Loan Association, F.A.;
Principal Balan`ce To: Downey Savings & Loan Association, F.A. ' ` ' 250,929.08
Interest Per Diem From 1/01/2007 to 2/03/2007 @ $ 50.5065 To: Downey Savings <! 1,666.71
Statement / Demand Fee To: Downey Savings & Loan Association, F.A. 60.00
Reconveyance Fee To: Downey Savings & Loan Association, F.A. » 45.00
Recording Fee To: Downey Savings & Loan Association, F.A. ' ‘ 9.00
Total: 252,709.79
Washington Mutual j . . . , .
Principal Balance To: Washington Mutual 29,899.60
` Interest Per Diem From 1/01/2007 to 2/03/2007 @ $ 12.4770`To: Washington Mutu: 398.73
Reconveyance Fee To: Washington Mutual 4 § ` 9.00
' ` Total: ` 30,307.33
EXH_IBIT B: (BQQ Section 800 1 Bu er t Seller Amount

 
 
  
 

 

Items Payable In Connection With Loan: ;

25.00
5,856.22

  

Wire Fee To: Opteum Financial Services, LL.C
Principal Reduction To: Opteum Financial Se_rvi_ces, LLC

  
   

Total:
EXHIBIT C: (HQD Section 1100) ount Seller Amount
Title Charges:
. Tax Report to Alliance Title Company : 4 v 7.00 ‘
Wire/Express to Alliance Title Company ' . - 43.00
2nd Loan Coverage $ 47, 000. 00 Premium: $100. 00 To Alliance Tit_le Company 1 ' , 100.00

Total:150.00

 

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ATTACHMENT“G”

 

 

. 47
§@®07219741915616415 ` G Documentl MEDB!HISHJI¥&QQ|D.H Page 71=19@§ 99@/

@7@131
- >rrom: unnstine Smith <`s' n@yahoo.com>
>To: RATLNROLL@MSN.CO|' '~.-
>Subjeotj Keep missin you..,.chwstine smith
'>Date: Thu, 15 Feb 2007 15:39:15 -0800'(P81')
3b

>Mike

> t .

>Sorry...l did leave a v_m msg on your black berry...l jus_t'remembered you
>can't retrieve them...ln any case t have had phone problems Verizon is
>working on another phone for me... ' -

> _

>One the loan when we originally did it we did a no cash out loan torkeep 4
>1he rate down...the max you can get beck on the loan like that is 21< that
>is why you only got the 2`k...

> .

>The title and escrow fees actually dropped from the original estimate...the'

>other 5,88_1.22 that you where hoping to get back was applied back into the
>loan, see exhibit B HUD section 800. dropping your principal balance on the
>loen..,so when Jeseice talked to you...she did say you would get more back

>oontrect.l cannot change fter l have locked it...iong story short we could
>only give you the max cash-out on a no cash out loan of2|< and the other

>now... '

> - _

>Sorry for the inoonvenlenoe:(§(
> , .
>Christlne Smith

>

>
)
>

>8:00? 8:25? 8:40? Find a flick in no time
>with the ¥ehooi Search movie showtime shortcut _
>http://tools.search.yahoo.com/shorteuts/#news :

 

Refi Now: Rates near 39yr lowel $430,000 Mortgage for $1,399/m0 - Celcu|ate
new payment

nep://www.lowermybllls.com/lre/»ndex.ispveoureeld-rmb-eeszn772_7'&¢1101¢=7581

Thursday, Februaxy 22, 2007 AOL: Schneeweiss] -

 

 

 

 

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ATTACHMENT “”H

 

 

 

 

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Opteum__ . , _1 , ~ ~'~Hen,,,te.,..k -
» ' 1 mmeo¢mslcomn

March 13, 2007

J`onathan.Schneeweiss; Esq..
4620 Natragansett Avenu_e `
_ San Diego, CA 92107

ne Loan #1707810480,170710481 hhs “Loans")
4255 33"‘ sheet #6, san niege, cnnomia 92104 roe “Premises”)
Michnel Burrows (thc “Bot'rovver r”)

'Dear Mr.. Schneeweiss:

Ple'ase know that your correspondence to Opteum Finsnciel Services, LLC l(“Opteurn”)
dated Fehruary 27, 2007 has been forwarded to me for reply ln your correspondence
you provided two Notices of Right To Cancel (the “Not'tces") executed by the Borrower
with respect to each of the above referenced transactions and presumably seek on behalf
1 of your client, cancellation of the Loens. In that regard, I note that the “I Wish To
Cancel" signature line of the Notices was executed by your client on_ February 27, 2007,
' the date on which you faxed the Notices and approximately one month after your client
acknowledged receipt of the Notices l'n fact, you acknowledge in your correspondence
that“[the] notices are delayed because Mr. Burrows was not properly noticed of his
rights " You have not, however, supplied any documentation or evidence which coniirm`s
' your assertion that the Borrower was not properly noticed nor does Opteum’ s review of
the Loan.s support any such conclusion ~ '

Based on the foregoing, this correspondence shall serve as notice that Opteum does not
intend to honor the Borrower’ s pmported rescission of the above referenced loans as the
period during which the Borrower was able to exercise that right has expired Further,
please note that the Borrower remains fully obligated on the Loans end absent payment
Optcum will have no alternative but to seek those remedies afforded to it pursuant to the
promissory note and security instrument executed_by the Borrower at closing

   

@r W115 CenmryRoad j Pammus,N_] 07652 _
`Phone: (201)'225-2906 ‘ Eax:(877)219-735_9 ~ Web:>ww‘w.opteum.com. - NVSE: OPX

 

 

 

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ATTACH~MENT I”

 

 

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Case S:GV-Ht/ZWKBWZBEWB” Document 1 islii‘§'§i°i§§/i)§itl?‘age|D.?B P‘i§EaQY/’f”;'> ot 99 4 1

JONA THAN SCHNEE WEISS
A TTORNE YA T LA W

4620 Narmgansett Avenua
San Diego. California 92!07
619.279. 3333

VIA FACSIMILE AND FIRST CLASS MAIL .
1-1877-219-7359 Fax
Mr. Henry H. Cronk '
Associate Gencral Counsel
Opteu.tn Financial Services
Wl 15 Century Road
' Paramus, N.J. 07652

March 30, 2007

RE: Loan #1707810480, 170710481 (the “Loans") 1
4255 33"’ Street #6, San Diegc, California 92104 (the “Prcmises")
Micbacl Burrows (the “Borrower")

Dear Mr. Cronk:

Thank you for your response dated March 13, 2007, where you explained that Opteum
Financiai Services, LLC (“Optcum”) could not yet cancel Michael Burrows’ (“Michael”)
Loans because we did not provide evidence that his mortgage broker/lender failed to
properly notify -Michael of his right to cancel the Loans. v

I represent Michael and this letter will serve to provide you with evidence to support
Michaei’s position Our ultimate goal is to get Michael into a loan that he can actually
afford and would like to negotiations with Opteum Financial to reach mutually agreeable
terms. ARer your review ofthe facts set forth below, and some of the supporting
documents included with this letter, you will certainly agree that a more detailed
investigation will be necessary if we cannot resolve this matter through simple
negotiations ` ' '

First Contact

Some time in late November or early December of 2006, Cin'ist.ine Smith (“Ms. Smith")
made contact with rny client, Michael, in an attempt to convince Michael to reiinance his
house. Miehael believes he received an advertising flyer in the mail which caused him to '
initiate`contact with the Lending Center's office in Carlsbad, California (phone number
866-3 73-2486). At that time, Michael spoke with Ms. Smith and she took his initial
information over the telephone and said she would be back in touch. At that time,

Michael explained that he wanted a thirty year fixed rate mortgage Ms. Smith assured

my client that she would get back to him With pricing for that type of ioan.

 

 

 

 

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Second and Third Contact by The Lending Center-

A few days later, Michael received a call nom an individual named Damien Mikkelsen
claiming to be from The Lending Center,'the same company where Ms. Smith worked. ‘
Mr. Mikkelsen proceeded to take further information from Michael over the telephone
A few days after Mr. Mikkelsen took Michael’s loan application over the telephone, Ms.
Smith was back in touch with Michacl. They had a conversation about the fact that Ms.
Smith and Mr. Mikkelsen work for the same company.

4 Mr. Mikkelsen’s conversation and my client’s position that he wanted a 30 year fixed rate
mortgage at six percent is evidenced by the Uniform loan Application Mr. Mikkelsen
took via telephone and mailed my client (see Exhibit “A” attached hereto). `

As the holidays approached, my client did not have much conununication, if sny, with

Mr. Mikkelsen and/or Ms. Smith. Ms. Smith assured Michael she was getting him a

great deal and toward the end of January 2007, she called and advised my client that she

found a loan for_him and that it would be a five year adjustable rate mortgage This was

the first my client learned that the loan changed from a fixed rate mortgage My client

was a bit confused by her explanation He did not hear from Ms. Smith again until a date .
1 was set for Michael to sign papers -- January 25, 2007 at 8 p.m. at Michael’s horne. The

notary, Jessica Graf, showed -up at that time for Micbael to sign documents Ms. Smith

was mt present during the time that Michael signed the documents for closing

lThe Meeting with the Notary

The notary made clear to Micliael that she could not answer his questions; she (Jessica

. Grat) explained that she _was there just to get signatures ln fact, Michael asked the
notary if she worked with Ms.' Smith and her response was that, “she has worked with _
Ms. Smith before.” The reality is that thenotary works for the same company as Ms.
Smith. We believe the notary was less than forthcoming with her relationship to Ms.
Smith and arguably deceptive in her business practices

During the time that the notary was at Michael’s home, Michael had a question about the
proceeds he was to receive back at _the close of escrow. Because Ms. Smith was not
present and the notary could not answer any questions, Michsel called Ms. Smith. They
had a brief discussion about any proceeds coming back to him after close of escrow, as
Ms. Smith promised my client (see Exhibit “D" -_“Good Faith Esti.mate” dated 12/13/07
because Ms. Smith directed my client to backdate the documents See sticky note '
directing my client to backdate documents).' Ms. Smith told my client she would get back

_ to him on that issue. I-Ie hung up the phone. When another question carrie up during the
closing Ms. Smith was no longer available via telephone ` '

After the notary, Jessica Graf, completed having Michael sign all the paperwork for
reilnance, She len With all of the papers . ' '

~..-.. ~~ ._ .~_._ ..~.-4 ..¢--....._~._._ -.._M..».~.~--__--- ..r ... Z.......» w.~.' m___-~~¢¢»_-m

 

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d v

After ¢hé January 25, 2007 M¢¢¢ing

A few_ days after the, January 25, 2007, signing of documents, my client waited to hear
back from Ms. Smith regarding his questions He did not receive any calls or messages
from Ms. Smith, b1 fact, my client made repeated attempts to make contact with Ms.
Smith. She claimed she had phone problems (see her emails to Michael in Exhibit “B").
My client did not receive any explanation regarding his loan questions until February 15,
2007. She only made contact via entail nearly two weeks after he signed papers for the
refinance (sec Exhibit “B").

. Confusion

There are a number of other facts in question here regarding Ms. Smith and Mr.
Mikkelsen’s business practices yFirst, Mr. Mikkelsen took a loan application from my
client indicating my client’s initial desire to obtain aflxed rate mortgage In fact, The
Lending Center included a proposed interest rate of six percent fixed for thirty years in
Writing to my client on December 20, 2006 (see Exhibit “A").

Furthermore, at no time between December 20, 2006, and the date that my client signed
his documents on January 25, 2007, did Ms. Smith, Golden Valley Lending, The Lending
Center or Mr. l\/Iildrelsert indicate in any way that Ms. Smith no longer worked at The
Lending Center. What is even more questionable is that 'now when I call The Lending
Center, Mr. Mikkelsen, I am told, is no longer working at The Lending Center. I was told
that Mr. Mikkelsen and Ms. Smith were both let go for various reasons. When my client
called to speak with Ms. Smith he was told she was fired or “let go.”

No Notices of Right to Cartcel Were Left with Michae!

'l'he following facts seem most disturbing and draw into question this entire transaction,
At the time the notary showed up at my cllem's home st 8 p.m. at night on January 25,
2007, he was told the notary could not answer any of his questions and Ms. Smith was
not available. _Upon signing a large stack of papers for this closing, Ms. Graf, the notary,
noticed that Golden Valley Lending did not have a complete set of documents to leave
with my clientl The notary even made a comment that it was odd that she did not have a

, full set of documents for my client to keep. As such, the notary left my client’s home and
took every single page my client was asked to sign during that meeting on January 25,
2007. '

ln that pile of documents, the notary took with her the notices where my client was, in
writing, advised of his right to cancel within three days of certain events. Please review
Exhibit “C” attached hereto. Exhibit “C” is a copy of the.front of the envelope my client
received at his parent’s home nom the “Processing Center" in Vista, Califomia. The
envelope is from California Ovemi'ght. ’Ihe telephone number is the same as that for
Golden Valloy Lending and the shipping invoice indicates that it was my client’s loan
documents he signed on January 25, 2007. 4 -

 

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"-.- ._,

On or about January 27, 2007, Michael received a large stack of documents from Golden
_Valley Lending. Michael took a cursory review of the loan and closing statements.and

was still perplexed about the change in the loan, the fees and why he was not getting cash
_ back as he had been promised verbally by Ms. Smith on several occasions

Michael made several attempts to reach Ms. Smith after realizing the terms of the loan
were nothing like she had represented to him verbally. The loan _was different in many
ways. The interest rate was dramatically higher than quoted over the phone (particularly
high for someone with excellent credit like Michsel).

'I`he loan paperwork flashed before Michael’s face on January 25, 2007, was different
than that previously presented by Ms. Smith. (Sce Exhibit “A"). The interest rate was
higher than originally discussed, pre-payment penalties were incorporated into the terms
ofthe note and, most notably, Ms. Smith put Michael into a loan with negative
amortization - ' '

My client saw the monthly payments and almost fell of his ohair. There was no way he
would he able to afford the loans she proposed My client’s income is $3,200 gross each
month, as he stated on his telephone phone intake with Mr. Mikkelson from The Lending
Center. (see Exhibit “A” page 2). The payments Michael is required to make as per Ms.
Smith’s loans are approximately $2,300 per month. After taxes and payment of his new
loan amounts, Michael is left with 83 00 per month to live. His previous loan payment
was less than $1,700.00 per month before he met Ms. Smith. - .

Somzone Direated Michael tn Each-Date Dncumen¢s/The No!a)y Was Present

This entire transaction is further concerning when you review how Ms. Smith, or
someone from Golden Valley Lending, directed my client to sign paperwork on January
25, 2007. If you take a look at Exhibit "D", attached hereto, you Will see that Ms. Smith
had my client sign a new Uniform Residential Loan Application that she completed and
sent with the notary on January 25, 2007. .

Ms. Smith left a sticky note on the application and directed the notary to have my client
date the application December 13, 2006. l(See Exhibit “D” - also note that my client
dated the documents December 2007 and not 2006, which further evidences that he did
not really sign that loan application on 12/13/06 like Ms. Smith wants everyone to

~ believe). A.tier he received the documents later, my client discovered that Ms. Smith

` changed the amount that he claimed to earn as a living. .' She also provided a Good Faith
Estimate which shows my client getting $5.83_8.29 back at close of escrow.

We know my client never received this $5,83 8.29 al close of escrow. In Eact, that is why
he called Ms. Smith during the closing. He was told she would get back to him on that
issue. My client’s version of the fact is supported by Ms. Srnith’s emails to my client
where she did not explain any of this deal until February 15, 2007. (see Exhibit “B").

- S_he explained this to my client via emai'l only. She f"urther explained 'in`her February 15,

 

 

 

 

 

Case szwfwzdiesaPBEWGi?Documem 1 tSHaaEuaZeet't)?‘ageleo Praagt§fra of 99

.__.,.. ._,_.

2007, entail that `Jessica had discussed some of these issues with my client at` various
points during the transaction, but then when it came time to sign papers Jessica would not

answer any questions This timber supports our position that something deceptive was
going on here.

From January 27, 2007, until approximately February 21, 2007, my client tried m vain to
reach Ms. Smith or someone at Golden Valley Lending that could help him. lt was not
until I was retained and reviewed his file that I determined Ms. Smith had buried the
notice of the right to cancel amongst all of the other paperwork she failed to explain to
him during the closing. .

My client was not aware that he'had the right to oancel. The actions of the parties here
seem to indicate that my client was not well informed about his rights. He was not given
clear and conspicuous notice of his right to cancel. The actions of the parties involved
appears to be confusing and potentially intentionally deceptive

As you are well aware, there are various federal and state laws that have been enacted
protect consumers in this type of transaction involving a person’s primary residence Thc
spirit of those laws is intended to protect consumers from unfair and deceptive practices
We believe it is important to review this entire transaction to see that the actions of The
Lending Center, Golden Valley Lending and their employees’ actions appear to have
been deceptive and misleading Ms. Smith appears to have directed people to backdate
documents She buried the notice to cancel amongst loads of documents and was not
available for several weeks alter close of escrow to answer my elient’s questions

Requested Resolun'arr

At this point, my client would simply like to get his property refinanced and avoid going
bankrupt trying to make the payments for the loans Ms.' Smith put him in on January 25, `
2007. We hope that will not have to go any hunter with this matter as there are material ‘
issues of fact here that could take months or years to resolve. This would bc a waste of
resources for all parties involved and would far outweigh the benth to either party. As
su_'ch, we would welcome the opportunity to begin negotiations on a refinance for '
Michael. .

 

 

 

 

 

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We are certam thls matter can be resolved without protracted litigation, or other legal

action. lfw_e can provide you with any further documentation that will help you evaluate
the situation, please call me at 619-279- 3333. '

.V_¢ry ruly

    

‘Cc: ’Ihe bending Ccn'oer
_Golden Valley Lending

 

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. ATTACHMENT “J”

 

 

 

 

Case 3:07-4CV-01567-BEN- G Document 1 Filed 08/0_9/07 age|D.Si Page 82 of 99
“ §
TRuTH- 1N- LENDlNG olscLosuRE sTATéMENT

(TH|ST |S NElTHER A CONTRACT NOR A COMM|TMENT TO LEND)
. LEND_ER OR LENDER‘S AGEN
Opteum Financial Services, LLC- San Diego Operations Center l l:l Preliminary g Finnl
2020 Camino Dcl Rio Nortl\ Suite 300 San Diego, CALIFORNIA 92108 DATE. 01/25/200'7
` ; LOANNO..' 1707104080
BORROWERS:Michael Burrows § ?)'pe ofLoan: Convent:ional

50030A5 6LOC

 

i

; 7.625%
ADDRESSI4255 33RD Street #6 z
CITY/S'I`ATE/ZIP: San Diego, CA 92104 1

PROPERTY: 4255 33RD St;reet #6, San Diego, CALIFORNIA 92104 ;

 

 

 

 

 

 

 

 

' ANNUAL PERCENTAGE l
` t _ RATE FINANCE CHARGE ’ Amount Financ;.d Total ofFayments
The °°5‘ °f y°“r credit as a 'l`he dollar amount the The amount of cr dit The amount you will have paid
yearly mm credit \vill cost you, provided to you or after you have made all
on your behalt`, l payments as scheduled.
17.9410%% 3 506,443.88 3 246,:358.64 $ 752,802.52

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l
DEMAND FEATuRE: al This loan does not have a Demand Feature. g This loan has a Demand Feature as follows:
|

 

 

VAR|ABLE RATE FEATURE: _ l

li This Loan has a Variable Rate Featu're` Vat'iable Ratc Disclosures have been provided to you earlier.‘
l

SECURlTY: You are giving a security interest in the property located at: 4_255 33RD Street llG,l San Diego, CALIFORNIA 92104

ASSUMPT|ONL Someone buying this property El cannot assume the remaining balance due under original mortgage terms
may assume, subject to |ender's eonditicns, the remaining balance due under original mortgage terms, §

 

 

 

 

 

F|L|NG I RECORDING FEES: S 100 . O_O . {

PROPERTY |NSURANCE: § Property hazard insurance with a mortgagee clause to the lender rs a required condition of this loan Borrower may
purchase this' insurance from an insurance company acceptable to the lender l

Hazard' insurance 4 is _ § is not available through the lender at an estimated cost off $? . 00 for a 0 '. 00 year term.
LATE CHARGES: If your payment is tnore than 15 4 days latel you will be charged a late charg} of 5 . 000 % ofthe

overdue payment i
‘ |
PRFPAVMENT: lfyou pay off your loan early, you ' l

may will not have to pay a penalty l

mayl m will not be entitled to a ret_’uod of part of the t`mnnce charge

 

l
See your contract documents for anys add|tlonal lntormatlon regardlng non~ ~,payment defau|t, requ|\jfed repayment |n full before scheduled date,
195

and prepayment refunds and pena|t
e means estimate . |

l/We hereby ack owledge reading 11 r eiving a complete copy oft|)is disclosurel b ' l
|

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Michael B r ws BORROWER/DATE BORROWER/DATE

 

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Case 3:07-cV-01567-BEN“/VG Document 1 Filed 08/09/076399||;).83 Page 83 of 99 s

 

TRUTH-lN-LENNNGlISCLOSURESTATEMENT

TH|S iS NE|THER A CONTRACT NOR A CO TME
LENDER OR LENDER'S A(GENT MM| NT TO LEND)

Opteum Financial Services, LLC - San Dlego Operations Center l:l Prélimirtary § Final
2020 Camino Del Rio North Suite 300 San Diego, CALIFORNIA 92108 ~ y DATE 01/25/2007
. ' LOANNO.1707104081
BORROWERS:Michael Burrows ' Type ofLoan: Conventional
' ` ` 50020F2nd1
10 . 250%

ADDRESS:4255 33RD St:reet: #6
CITY/STATE/ZIP: San Diego, CA 92104
PROPERTY: 4255 33RD Street: #6, San Diego, CALIFORNIA 92104

 

 

 

 

 

 

 

  
  

 

ANNUAL PERCENTAGE
RATE FlNANCE CHARGE Atnount Financed , Total of Payments

The °°sl of y°“r °l°d't “5 ° The dollar amount the The amount ot“ credit The amount you will have paid

y°“rly ""°' credit will cost you. provided to you or after you have made all
on your behalt`. payments as scheduled

10 3602%"/¢ 3 59.764 09 3 46,532.61 3 116,295.70
PAVMENT SCHEDULE.
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qEMAND FEATURE: El This loan does not have a Demand Feature. m This loan has a Demand Feature as follows:

 

VAR|ABLE RATE FEATURE:

i:l This Loan has a Variable Rate Feature. Vnriab|e Rote Disclosures have been provided to you earlier.

 

SECURlTY: You are givingasecuriry interest in the property located at: 4255 33RD Streat: #6, San Diego, CALIFORNIA 92104

 

ASSUMFT|ON: Someone buying this property E:] cannot assume the remaining balance due under original mortgage terms '
may assume, subject to |ender's conditions, the remaining balance'due under original mortgage terms.

 

 

FlL|NG l RECORD|NG FEES: S j 75 . 00

PROF'ERTY INSURANCE: iii Property hazard insurance with a mortgagee clause to the lender is a required condition of this loan, Borrower may
purchase this insurance i`rom an insurance company acceptable lo the lendcr.

Hazard insurance is l§l is not available through the lender at an estimated cost ofS $O . 00 for a 0 . 00 year term,

 

' LATE CHARGESZ lfyour payment is more than 15 days late, you will be charged a late charge of 5 . 000 % of the

overdue paymentl

 

PREPAYMENT: lfyou pay offyour loan early, you
may will not hav_e to pay a pcnalty.
may m will not be entitled to a refund of part of the finance charge

See your contract documents for an add|tlona| lnformatlon regarding non- -payment, delau|t, required repayment In fu|l‘ before scheduled date,
and prepaymenttrefunds and pena|t es.
8 mDBnB 05 ma

 

 

 

l/We hereby acknowledge rea-~'; and receiving a complete copy ofthis disclosure

 

 

BORROWER / DATE > BORROWER l DATE

   

 

BORROWER / DATE ‘ BORROWER l DATE

QJBS (aaas) vMP MoaTcAGE FoRMs. (aoo)sz\-nat Paq¢ 1 012 5,99

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ATTACHMENT “K” ~

 

 

/ Case 3:07-cV-01567-BEV\“/VG Document 1 Filed 08/09/07‘age|D.85. Page 85 of 99

AMORTIZATION SCHEDUi;E . ‘ t l

Loan Information: Purchase Pn'cc: 0
' Down Payrnent; 0 ~
OriginalBalance; * 256,000.00
Terrn in M<)nths: l360
lnterest Rate:` 7 . 625

Payment No. P & I Principz\l ~Interest Balance R°§:'.]l‘t\l,"g

575

 

@-1983(»110¢§) 5199
3 vMP notaro/toe Folws - unclear-1291

male ‘ z lililillilllillilllillillill

 

 

 

/ Case 3:07-cV-01567-BEWVG Document 1 Filed 08/09/07‘age|D.86 Page 86 of 99

AMORTIZATION SCHEDULE

Loan Information: Purchase Price: ' 0 @C,`i@ [/\,@UU 95 l/Z) COC)§@’J
- Down Payment: 0
. Original Balancc: 47 , 000. 00 (ZD [/`§’) 0
‘ Term in Months: 240 al ,

lnterest Rate: 10 . 250

Mortgage Resultlng'

Pa.yment No. P & I Principal Interest lowrance Balance LTV |

 

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le= MoRTGAGE Fonms- women 1291

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ATTACHMENT “”L f .

 

 

Case 8:07-CV-01567-BEN- G Document 1 Filed O8/O9/O7‘age|D.88 Page 88 of 99
Unifo Residentia|'Loan App|ication

This application is designed to be completed by the applicant(s) with the Lender's assistance App|icants should complete this form as "Borrower" or "Co-Borrower", as
applicable Co~Borrower information must also be provided (and the appropriate box checked)`when C\ the income or assets of a person other than the "Borrower"
(including the Borrower's spouse) will be used as a basis for loan qualification or E]the income or assets of the Borrower's spouse or other person who has community
property rights pursuant to state law will not be used as a basis for loan qualification but his or her liabilities must be considered because the spouse or other person
has community property rights pursuant to applicable law and Borrower resides in a community property state, the security property is located in a community property
state, or the Borrower is relying on other property located in a community property state as a basis for repayment of the |oan.

' |f this is an application forjoint c Borrower and Co~Borrower each agree that we intend to apply forjoint credit (sign below):

  
 
 

 

  
  
 
 

  
   

 

              

 

 

 

 

 

 

 

 

 

 

 

 

Borrower l
Mortgage e Agency Number
APP"ed f°r= i:l FHA [] usoA/Rural
. ` Housing Service .
Amount interest Rate No, of Months Amortlza_tion Type: m Fixed Rale l:i Other (explain):
$ 256,000 7.625 % 360/360 ij GPM lZ]ARl\/l i.e ; 5 YR ARM
ii {_.{rpa ‘,,',,`."!)r , -, viii',-§h~ ~1 ,, 5 ) ~~.»~ 1...14 ~~1 »“»- -' - ' - “' " a 4 371 ~r~ w li ' ~»'rrl~i _»~ °\~»~-;~~~' -~~».` ~~r~~.- , »~_r»~r ~~3'~»_ " t <_ ' .‘ >l J, § ,§ 71 rawl ‘tr ‘ '
fsla<a%arrdlt t. . illc?>i§§§i§:” rda‘lti:tti§i§‘ ll&B.Qi?t§£\’r`lz\@llhili@F\’;...iA°‘lli!QNre miles Rl?l@,.$t§r@ ©.ANzrl§illt§§$-'Ht» ‘ et s rare " ,; s s
Subject Property Address (street, city, state, & Z|P) _ ` No, of Unl s
4255 33RD ST#G, SAN DlEGO, CA'92104 County: SAN DlEGO 1 .
‘Lega| Description of Subject Property (attach description if necessary) ~ Year Bui|t
SEE PREL|M ' 1983
purpose Of Loan i:l Purchase El Construction l:l Other (explain): Property Wi" bel . `
[Z] Ret"lnance I:I Construction-Permanent l'l]Primary Residence i:]Secondary Residence E]|nves‘.ment
Complete this llne if construct/on or oonstructlon-permanenl Ioan. `
zear_Loct1 Origina| Cost Amount Existing Liens (a) Present Value of Lot (b) Cost of |mprovements Total (a+b)
cqulre ' v ' '
. $ $ $ ' $ $
Complete thls llne If rhls is a refinance /oan. ` ‘ ~ ,
lear d Origina| Cost Amount Existing Liens Purpose of Ret”lnance Describe improvements i:| made [:| to be made
cqulre ' . ~

` 2004 $ '305,000 ` $ _ 274,500 Cash-O'ut/Home lmprovement Cost: $ .
Title will be held in what Name(s) ' Manner in which Title will be held Estate will be held in:
vMlCHAEL BURROWS To be determined in escrow ' [] Fee Simp|e

' ` |:] Leasehold(show
Source of Down Paymentl Settlement Charges and/or Subordinate Financing (explain) , ' , » expl'a“°" da‘e)
Equlty from Subject Property

 

       

  

., n

Borrower's Name

1. trw
(include

,, r.,\..>~_'r)v "i €l: 1 h »\OR N.N i 4 l v'>.
r. or Sr. if applicabie)
MlCHAEL BURRCWS

o'-l;o'rr~owersl\l nclude Jr. or Sr. iapplickab|e)i

         

 

Social Security Number Home Phone (incl. area code) DOB (mm/dd/yyyy) Yrs. School Social Security Number Home Phone(inci. area code) DOB (mm/dd/yyyy) ¥rs. School
XXX-XX-XXXX 619-222-6943 11/28/1948 18

 

 

 

 

 

 

 

learried @Unmarried (include sing|e, Dep@ndenls (n€>t listed by C°~B°FFOWSV) [l Marrled ij Unmarried (include single, Dependenl$ (\'\°t listed by B0"'0W@\')
Separated dlvorced, wldowed), no. 0 l ages 0 ' lj$eparated divorced. widowed) no. i ages

Present Address (street, city, state, Z|P) _ Mown [l Rent 2.6 No_ Yrs. Present Address (streetl city, state, Z|P) flown l:i Rent No. Yrs.

 

 

 

4255 33RD ST#G
SAN DlEGO, CA 92104 '

 

Maillng Address, ifdifferent from Present Address ' Mai|ing Address, iidifferent from Present Address

 

lf residing at present address for less than two years, complete the followln g:
Former Address (street, cityl state, Z|P) Down [:] Rent ' ' No' Yrs_ Former Address (street, city, state, Z|P) l:|Own [:] Rent No. Yrs_

 

 

 

 

 

Former Address (street, city, stale, zlP) l:]own l:l Rent No. Yrs. Former Address (Street. city. state. Z|P) ClOwn l:l Rent NO. Yrs.
Fannie Mae Form 1003 07/05 MJ_ Freddie Mac Form 55 07/05
CALYX Form Loanappl.frm 09/05 ‘ Page 1 ol 5 Borrower ~__Q -

Co~Borrower

 

Case 3: O7- -C\/- 01567- BEWVG Document 1 Filed O8/O9/07‘ageiD. .89 Page 89 of 99

   
   

 

            

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. »l l » . , o -~,;,¢ e.»., \:.in‘t’.»,@ l ' `..... , . -"itl; … ..
Name & Address of Employer _ [] gen Employed Yrs. on this job Name & Address or Employer i:] Self Employed Yrs. on this job
S. D. S. 4 yr(s)
8954 RiO SAN DlEGO DR#110 Yrs. employed' ln this v ' Yrs. employed m this
SAN DlEGO, CA 92107 line of work/profession k _ line of work/profession
. . l 6 `
Position/Tit|e/Type of‘Business , Business Phone (incl. area code) Position/Tit|efi'ype of Business Business Phone (incl_. area code)
. COMPUTER TECH . 619-682-7290
ll employed in current posltlon for less than two years or if currently employed ln more than one position, complete the following:
Name 81 Address of Employer l:] Self Employed Dates (from-to) Name & Address of Employer [:] Self Employed Dates (lrom-to)
Monthly income l » Monthly income
$ v ' s
Position/Tit|e/Type of Business Business Phone (incl. area code) Positlon/'i'itle/Type of Business Business Phone (incl. area code)
Name & Address of Employer [:] self Employed Dates (from-to) Name & Address of Employer [] Selr Employed Dates (from-to)
Monthly income k ` v Monthly income
$ $ .
Position/Title/Type of Business Business Phone (incl. area code) b Position/Tit|efi'ype of Business Business Phone (incl. area code)
Name & Address of Employer [:] Se|f Employed gates (from.io) Name & Address of Employer m Se|f Employed Dates (from-lo)
Monthly lncome Monthly income
, $ ' $
Position/Titie/Type of Business Business Phone (inclr area code) Position/Tit|e/Type of Business . Business Phone (incl. area code)
‘ Name & Address Of Employer i:l Se|f Employed Dates (from-to) Name & Address Of Employer ij Seif Employed Dates (from-to)
Monthly income , ' Monthly income
, $ . _ $
Position/Tit|e/Type of Business - Business Phone (incl. area code) Position/Tit|e/Type of Business Business Phone (incl. area code)

 

 

 

 

 

 

 

 

 

 

 

 

Gross ’ Combined ivionthly '

Monthly income Borrower Co~Borrower Total Housing Expense _ Present
Base Empl. lnCOme‘ $ 51351'.50 $ $ 5,351_50 - Rér'ti $ ‘
Overtime 489_0° ' ' 489,00 First Mortgage (P&i) 940_00 $ 1 525 57
Bonuses 630_00 630_00 Other Financing (P&l) - 203_00 421_17
Commissions ' . Hazard insurance _
Dividends/lnterest _ Real Estate Taxes 237_41 ' . 287_41
Net Rental income Mortgage insurance v
thel'(bel°re Completing. Homeowner Assn. Dues . 123_00 123_0(')
see the notice in "describe ‘ '
other.income_" below) ` Ofl`l@l'!
Total $ 6, 470` 50 $ $ 6, 470 50 Total $ 1, 558. 41 $ 2,463.25

 

 

 

 

 

 

 

o

Se|f Employed Borrower(s) may be required to provide additional documentation such as tax returns and financial statements.

Describe Other income Notlce.' Alimony, child support, or separate maintenance' income need not be revealed if the
Borrower (B) or Co~Borrower (C) does not choose to have it considered for repaying this loan.

B/C Monthly Amount
$

 

 

 

 

 

 

Fannie Mae Form 1003 07/05 Borrower' M . Freddle Mac Form 65 07/05
CAi_YX Form Loanapp2.frm 09/05 _ Pa`ge 2 of 5 '

Co-Borrower

 

 

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vw w ,'¢=_MM w 21 m _ 4 _\ 7 ,¢ _` _U,_ , . w
iiii‘iit§§lit?ii:€t&v`if'iiliii§t,siil:ésiiti§iii§iiit§i V§“i,iii xiii§i\'!i!A'\S§AQ?LLAQ'LQ'JE§.£§§ t"~~zii"ité‘a‘i . - - i. t . ~ . -..il t ,
ls tatement and any applicable supporting sc edu|es may e comp ete~ jointly ~y ot married and unmarrle n abi ttles are su ficient|ylolne

so that the Statement can be meaningfully and fairly presented on a combined basis; otherwise separate Statements and Schedules are required it the»Co-Borrower section
was completed about a non~appiicant spouse or other person, this Statement and supporting schedules must be completed by that spouse or other person aiso.

Completed [IJolntiy l E]Not.ioint|y

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

     
 

 

 

 

  

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Description ASSETS M§_?(:?\?;lue Llabiiitles and Pledged Assets. List the.creditor's name, address and account numberfor all outstanding
_ debts, including automobile |oans, revolving charge accounts. real estate loans, allmony, child support.
Casrt\`depo$'tdt€’\~§"d $ stock piedges, etc. Use continuation sheet, if necessary. indicate by (') those liabilities which will be
pure 339 he| by' satisfied upon sale of real estate owned or upon refinancing of the subject property.
l Monthly Payment & Unpaid Baiance
i B Ti
y L A |Ll ES Months Left to Pay
Llst checking and savings accounts below Name and address df Company _ $ payment/Months $
Name and address of Bank, S&L, or Credit Union ' DOWNEY S&L _ ' \
US BANK
Acct. no. 9040707085 . * (940) 252,609
Acct‘ no_ 165100505578 l $ 10’497 \t;iva/r\nseHalndGa-dgress <L)]f Company $ Payment/Months $
Name and address of Bank, S&L, or Credit Union _ N N M TUAL `
Acct. no. 100000000062659 * (203) , ' 30,295
, Name and address of Company $ Payment/Months $
Acct. no. ' l $ CHASE
Name and address of Bank, S&L. or Credit Union
Acct. no. 411316500657 10 /iRi 50
~ _ Name and address of Company ' $ Payment/Months $
Acct. m. ' $
Stocks & Bonds (Company $
~ name/number description)
SCOTTRADE ` . 5,777
` Acct. no.
Name and address of Company $ Payment/Months $
Life insurance net cash value . $ l
Face amount: $
suvtotal-quuld Assets, $ 16,274 Acd m
Real estate owned (enter market Value $ Name and address of Company - $ Payment/l\l|onths 5
from schedule of real estate owned) 320 000
Vested interest in retirement fund
Net worth of business(es) owned
(attach t”inanclal statement) » Acct. no.
Automobi|es owned (make and year) $_ Aiimony/Child SupportlSeparate $ ij:'~ '.`
‘ Maintenance Payments.Ovi/ed to: '
Other Assets (itemize) $ Job-Re|ated Expense (chiid care, union dues, etc.) $ 4 " "" ,
PERSONAL PROPERTV 50,000 ' ' ~ , il
. ~ VI
. _ ‘¥§,- '¢,"
n t ,
Total lvlo thly Payments $ 10 1 §§
4r ~ l ‘ §- t .
Total Assets a. s 386,274 iii a 953§§;, § jim 103,320 Total L\ab"lfiw b~ l $
Scheduie of Real Estate Owned (if additional properties are owned, use continuation sheet) msdrance'
Property Address (enter S if soid, PS if pending Type of Present Amount of Gross Mortgage Maintenance, Net
Sa|e O" R ifremal being held for inCOmG) Property Market Value Mortgages & Liens Rental income Payments Taxes & Misc. Rental income
4255 33RD ST#G , '
SAN DlEGO, CA 92104 . CONDO $ 320,000 $ 274,500 $ $ 1,143 $ 413 $
Totals $ 320,000 $ 274,500 $ - $ 1,143 $ ’ 413 $
List any additional names under which credit has previously been received and indicate appropriate creditor name(s) and account number(s):

Aiternate Name Creditor Name Account Number

 

 

v . 41 -
Fannie Mae Form 1003 07/05 - Borrower UL Freddie Mac Form 65 07/05
Co-Borrower _____

CAL\’X Form Loanapp3.frm 09/05 . - ' Page 3 of 5

 

 

 
 
 
 

-01567-BE

  

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

. ANS`ACB \. _ 4 ., ,, ,_ ., __ . , ,
a. Purchase price 3 if you answer "Yes" to any questions a through t, Borrower Co-Borrower
b' Aneranons| improvements' repairs please use continuation sheet for expianatlon. Yes No Yes No
c_ Land (if acquired Separate|y)' a. Are there any outstanding judgments against you? [:] iii [:| . l:]
d' Rennenee dnc|_ debts to be paid eff) ~ 282’904'00 b. Have you been declared bankrupt within the past 7 years? |:l ill [:] |:|
e_ Estimated prepaid items 2 120 31 c. Have you had property foreclosed upon or given title or deed in lieu thereof [:] fm [:l [:]

, , ' ' in the last 7 years?
f. Estimated closing costs 111886_00 .
g_ PM" M|P' Funding Fee d. Are you a party to a lawsuit'? l"_`| iii |:] E]
h' Disceunt (if Borrower Win pay) e. Have you directly or indirectly been obligated on any loan which resulted in \:] [] l:| [:] .
_ _ foreclosurel transfer of title in lieu of foreclosure, orjudgment?
|' Total costs (add |tems a through h) 296,910.31 (This would include such loans as home mortgage ioans, SBA |oans. home improvement
' ' ' . loans. educational ioans. manufactured (mobile horne loansl any mortgage financial
]' Subordmate nnancmg 471000-00 obligation, bond, or loan guarantee if "Yes," provide details. including date, name and
K. BOITOW€|"S C|Osirig COStS paid by Sel|er address of Lender, FHA or VA case number. if any, and reasons for the aclion.)
|_ Other Credits (explain) ` f. Are you presently delinquent or in default on any Federal debt or any other |:_l m E] m
loan, mortgage, financial obligationI bond, or loan guarantee?
if "Yes,' give details as described in the preceding question.
g. Are youl obligated to pay alimony, child support. or separate maintenance? |:] ill [:] |:]
h. ls any part of the down payment borrowed? ft m l:] []
i. Are you a co-maker or endorser on a note? l:| |Z| \:] I:]
New 2nd Mtg Ciosing _Costs _ - -251.40 j Are you a U S citizen? al m |:} |:]
m~LOan_ amount (exclude PM|. M|P. k. Are you a permanent residentaiien? l . ' |___] [I] [:] |:]
Fund|ng Fee nnan-ced) 256,000,00 l. Do you intend to occupy the property as your primary residence? [y_] [:] [`_'_`| l:]
n_ pnmI MIP' Funding Fee financed if "Yes," complete question m below.
m. Have you had an ownership interest in a property in the last three years? ill [:l m E]
O. Loan amount (add m a n) l . (1) What type of property did you own-principal residence (PR), `
. _ 2561000.00 second home fSHl, or investment property (lP)? _L
p‘ Cash from/to Borrower (subn,ect iv k' l a (2) How did you hold title to the home-solely by yourself (S).
0 from i) jointly with your spouse (SP), or jointly with another person (O)? _§__

 

 

 

 

negligent misrepresentation of this information contained in this application may result iri civil liability, including monetary damages, to any person who may suffer any loss due'to
reliance upon any misrepresentation that l have made on this application, and/or in criminal penalties including, but not limited to, fine or imprisonment or both under the provisions
of Title 18, United ‘States Code, Sec. 1001, et seq.; (2) the loan requested pursuant to this application (the ”Loan") will be`secured by a mortgage or deed of trust on the property
described in this application; (3) the property will not be used for any illegal or prohibited purpose or use; (4) all'statements made in this application are made for the purpose of obtaining a
residential mortgage loan; (5) the property will be occupied as indicated ln this application; (6) the Lender, its servicers, successors or assigns may retain the original and/or an
electronic record of this application, whether or not the Loan is approved; (7) the Lender and its agents, brokers, insurers, servicers, successors and assigns may continuously
rely on the information contained in the application, and l am obligated to amend and/or supplement the information provided in this application if any of the material facts that l 1 4
have represented herein should change prior to closing of the Loan; (8) in the event that my payments on the Loan become delinquent, the Lender, its servicers, successors or assigns
may, in addition to any other rights and remedies that it may have relating to such dellnquency, report my name and account information to one or more consumer reporting agencies;
(9) ownership of the Loan and/or administration of the Loan account may be transferred with such notice as may be required by law; (10) neither Lender nor its agents, brokers, insurers,
servicers, successors or assigns has made any representation or warranty. express or implied, to me regarding the property or the condition or value of the property; and (11) my
transmission of this application as an "electronic record" containing my "e|ectronic signature." as those terms are defined in applicable federal and/or state laws (excluding audio and
video recordings). or my facsimile transmission of this application containing a facsimile of my signature. shall be as effective, enforceable and valid as if a paper version of this
application were delivered containing my original written signature.

Each of the undersigned hereby acknowledges that any owner of the Loan. its servicers, successors and assigns. may verify or reverify any information contained

AG!SDQM§Q§§|JJ_QDL
in this application or obtain any information or relating to the Loan, for any legitimate purpose through any source, including a source named in this application or a consumer
reporting agency. t

,

Borrower's §§er
' ne r Real

m 'n i requests n r certain types of loans related to a dwelling i monitor the lender' lance with equal credit
opportunity. fair housi -, ad home mortgage disclosure laws You are not required to furnish this information, but are encouraged to do so. The law provides that a Lender may
not discriminate either on the basis of this inforrnation, or on whether you choose to furnish it. if you furnish the information, please provide both ethnicity and race. For race, you
may check more than one designation lfyou do not furnish ethnicity, race, or sex. under Federa| regulations, this lender is required to note _the information on the basis ofvisua|
observation and surname if you have made this application in person. |f you do not wish to furnish the information, please check the box below. (Lender must review the above

  
   
  
 
     

  

f Co-Borrower's Signature

 
      
 

  
   
 
  

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

material to assure that the disclosures satisfy ali requirements to which the lender is sub ect under applicable state law for the particular type of loan applied for.)
BORROWER [:l l do not wish to furnish this information CO-BORROWER ll i do not wish to furnish this information
Ethniclty: [:l Hispanic or l.atino IZ] Not Hispanic or Latino Ethnicity: [:] Hispanic or Latino \:\ Not Hispanic or Latino
Racef \:lAmerican indian or I:I Asian m Black or Race: l:] Amerlcan indian or \:lAsian I:] B|ack or
A|aska Native African Amerlcan Aiasl<a Native African l_\rrierican
Native Hawa|ian or White Native Hawaiian or White
[:] Other Pacitlc ls|ander l`v'] ' ' m Other Pac‘it'ic ls|ander l:]
Sex: l E] Femaie I_V_] ~Male ' l Sex: E Femaie ‘ \:] Maie
To be Completed by interviewer int rviewer's ame (prin c`)r type) f Name and Address of lnterviewer's Employer
This application was taken by: lSTl[;I § M|IH _ GOLDEN VALLEY LENDING GROUP
l:l Face-to-face interview WW/¥i r}nt.i/re :` . l Z;i 0"7 830 E.V|STA WAY#119
[i trail . w l ~ t j= / vlsm cA 92084
lI Telephone 4 interviewers P'none Numil'er (incl. al@,b.¢€cei l (P) 760_407.1717
m '"‘e"‘e‘ ' 760407-1717 . il=i 760-401-1722
Fannie Mae Form 1003 07/05 Freddie Mac Form 65 07/05

CALYX Form Loanapp4.frm 09/05 Page 4 of 5

 

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_ATTACHMENT “M”

 

 

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Opt:eum Financial Services, LLC '- San Diego
Operations Center

2020 Carnino Del Rio North, Suite 300

San Diego, CA 92108

Mi chael Burrows

 

Property Address:
4255 33RD Street #6

San Diego,

CA 92104

 

 

Date:

January 11 , 2007

 

We are'providing the following credit score’information in connection With your loan application

 

` Credit Score

Experian
P.Q. Box 2002

Equifax
P,O. Box 740241

Trans Union _
P.O. Box 4000

 

Provider Allen, Tx 75013 Aelani;a, GA 30374 chester, PA 19016
1-888-397-3742 1~600-685-1111 '1-866-887-2673
Current/Most
Recent Credit 757 795 757
Score`

 

1. Length oftirne revolving
accounts have been established

2. Proportion of balance to high

1. Amount owed on revolving
accounts is too high

2. Too many inquiries last 12

high

1.' Amount owed on accounts is too

2. Length of time accounts have

 

 

 

 

 

 

 

 

credit on banking revolving or all months been established
‘ revolving accounts
` 3. Proportion of balance to high
K:Hvl;:;;(l')rs 3. Too many inquiries last 12 credit on banking revolving or all
. y months revolving accounts
Affectlng Score
- 4. 'l`oo many inquiries last `12
months »
Range of . .
POSSlbl€ Credit 340 - 820 300 - 850 400 - 925
Scores .
Date °f Credit 01/17/2007 01/17/2007 01/17/2007
Score
l 7 O 7 _l O 4 O 8 O . -
Q-HS iotii) vii/ip Mortgage soiuiions,iric. (500)521-7291 11/04

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ATTACHMENT “N” *

 

 

` Case 3:07-CV-01567-BEN- 'G Document 1~ _Filed 08/09/07‘age|D.95 Page 95 of 99

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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c:Qm_‘ mHmEm 3 c~onmn< _:Q_om_m.. m - mo_q_ _um - _um:a_:@ mm_m… m - Dm:_m_ cm_:m :m_a 8_1_:0030 O>m_._..m_.O<< _
. . zm.~
z>:m >ze >eemmmm on _,mzemm oz 3>.:_» dim on m>r>zom o_“ ___:oz_.xr< ._~_:oz§_.< _Q_:oz_.:_.< mmz_.>_.
rO>z zc§mmm E>wxm._. <>rcm wmz._.>_' ._.>xmw ZOW._.Q>OM
:Ow._.m>mm dmovmw._.< >uUNmmm m. vm. a vmovmw._.< . ____O_..$.O>Qmm _znO:m . w _zwcm>znm v><z_mz._. ~__z_wn~vw_.._m_
nozzm.w m»<Hzmw m roy
, no=eoa»=n eo§.;._omm 3333 _ Nwoe~e.oo. . Sm.oo 293 0.00
_ , . v
hwmm wwwb mnHmmn #m
mw: Un..mno` D> mwwoh
Z.ymmHzmeoz zc_H_QE,_ md
UO. mOX h>_.wm Q>ONMOZ<HHNM m.H_ . OOBQO=E..SH HOOH.OOOOOOOOOmMmmm Nw~mmw.©o NHO.oo
__ wmww~ .
Awmm mwwa mnnmmn #m .l.l i.-ll.. . .. .-i i..:;..i. l ..- .. .-. l , -.
l l:m.wi:r_u.….mm.ol`-m.u. @w:~lo~ii-, .. i;. i . . . ,
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. Ho_.>_.m SSS.S _ ,~mow~w.oo 0.00 Sm.oo FEQ.QQ 0.00
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m_OZmO . U>._.m

 

 

 

 

guam .$__B ANON\_ OA.O®O <_s_u ZOD_`O>Om mOw_sm . B_S~cu.m_oo . Amoo_m~_.-w_. . . , . . := _z==_==_=w=_=:== __E=_

 

 

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ATTACHMENT “0”

 

 

Case 3:07-cv-015

$Eci?é'§

(TH|S |S NE|

Lender; Downey Savings and Loan Association, F.A.
3501 Jamboree Road, Newport Beach, CA 92660

App|icat|on l Loan Number: 9040707085

Date: April 21, 2004

RSZ MICHAEL BURROWS

antenna t.$aie@aas<i/aiae®-Qr Page 97 Of 99

A CONTRACT NOR A COMM|TMENT TO LEND) `

 

ANNuAL
PERcENTAGE
RATE

The cost of your credit
as a yearly rate.

4.757%

F|NANCE CHARGE_

The dollar amount the credit

, will cost you.

$232,363.94

AMOUNT F|NANCE

¢

The amount of credit provided
to you on your behalf

$242 ,708. 17

TOTA_L OF
PAYMENTS

The amount you will have paid
after you have made all
payments as scheduled.

$475,072.11

 

 

 

 

 

PAYMENTS: Your payment schedule will be as follows -

 

Number of Amount of

When Pa monte

 

Pay ments Payments Are ue
1 $B13.14 ' Monthly Beg|nnir\g: ’ 06/01/2004
11 ' . $813.14 ' 07I01l2004
4 12 $874.13 06I01/2005
1 2 $939.69 06/01/2006
12 $1,010.17 06/01/2007
1 2 $1,085.93 06/01/2008
299 $1 ,394.61 06I01/2009
05/01/2034

1 ` ' $1,389.06

 

 

 

index Type CQFI Current index Rate 1 . 841

 

[§| Yot|i_,r loan contains a variable rate feature. Disc|osures about the variable rate feature have been provided to you
ear ier.

lNSURANCE: The following insurance is required to obtain credit ' iii Property insurance
You may obtain the insurance from anyone you want that is acceptable to the creditor.

SECUR|TY: You are giving a security interest in :
4255 33RD sTREE'r #6, sAN DIEGO, cA 92104

ij Flood insurance

LATE CHARGE: if a payment is more than 15
PREPAYMENT: lf you pay off ear|y, you

§ may l:l will not have to pay a penalty.
l:| may ii will not be entitled to a refund of part of the finance charge. _
ASSUMPTiON: Someone buying your property
|:| may i§l may, subject to conditions

. See our contract documents for any
in ful before the scheduled date an

ij (e) means an estimate

days latel you will be charged 6 ~ 0000 % of the overdue payment.

ij may not assume the remainder of your loan on the original terms.

additional information about nonpayment defau|t, any required repayment
prepayment refunds and penalties.

 

See attached Good Faith Estimate for settlement charges
The undersigned acknowledge receiving and reading a completed copy of the disclosure

Neither you nor the creditor previously has become obligated to make or accept this loanl nor is any such
obligation made by the delivery or signing of this disclosure »

 

MICHAEL BURRows

(Do\e)

 

(Dete)

 

(Dnte) (D

 

 

 

NG‘|'E: Feymentl crim above da not include reserve deposits for texee. enewr\entl. end property or iiood insurance

(oe¢e) (oi

REZ<UFF (02/23/04) CR12859 VC

 

z Case 3:07-cV-01567-BEWVG Document 1 Filed 08/09/07‘agelD.98 Page 98 of 99

1844

turnoth ClVlL COVER SHEET

The .lS-44 civil cover sheet and the information contained herein neither replace rior supplement the filing and service oi` pleadings or other papers as required by law, except ns provided by local

niles ofcourt. This form, approved by the Judicial Conf`erence ofthe United States in Septembcr l974, is required for the use ofthe Clcrk of`Coun for the purpose of initiating thc civa d&cket

shoot (sEE iNsTRucTiONs oN THE sEcOND PAGE oi= Tiiis FORM.)
i (u) PLAii~mFirs

gunswa Mt'@/loi¢i jt

(b) COUN'I`¥ OF RESIDENCE OF FlRST LlSTED
PLA[NT|FF
(EXCEF|` lN U.S. PLA|NT]FF CASES)

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DEFEN DANTS

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iv rel 511~0010
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° 3Fedcral Question W
(U.S. Government No a nrty)

° 4Diversity (lndicatc Citiztenship of Pa.rtics in
item lll

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° lU.S. Govcmment Plaintiff

° 2U.S. Govcmmcnt Defendmt

ATI`ORNEYS (lF KNOWN)

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lII. ClTlZENSlIlP OF PR|NCIPAL PART|ES (PLACE AN X lN ONE BOX

(For Divcrsity Cnses On|y)

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Citizen of`This State , l , l
Citizcn of Anothcr State , 2 . 2
Citizen or Subject of a Forcign , 3 . 3

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FOR PLAINT|FF AND ONE BOX FOR DEFENDANT

PT DEF
incorporated or Principal Place ot` Business , 4 , 4
in This State
incorporated and Principol Place of` Business , 5 , 5
in Another State
Forcign Nation , 6 , 6

IV. CAUSE OF ACT|ON (ClTE THE US ClVlL STATUTE UNDER WlllCll YOU ARE F|LlNG AND WR]TE A BRIEF STATEMENT OF CAUSE. DO NOT CITE

JUR|SDlCl'lONAL STATUTES UNLESS DlVERSlTY).

(TILAl /Sll_s,¢,§/éo/arttq. 't {/'€z/:S/%'> /zlt.f.£.. §2 wl trott

 

V. NATURE OF SUl'l` (PLACE AN X lN ONE BOX ONLV)

 

 

 

  

 

 

 

 

 

 

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Vl. ORIGIN (PLACE AN X lN ONE BOX ONLY)

§ Original Proceedirig

° 2 Rcmovul from

’ 3 Remanded from Appelute

 

 

 

 

’ 4 Reinstated or ° 5 Tmnsf`crrcd from

° 6 Muiiidistrict Litigation

° 7 Appeal to District Judge from

 

 

 

 

 

State Court Court Reopencd another district (specif`y) Magistratc Judgment
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Case 3:07-cV-01567-BEWVG Document 1 Filed 08/09/07‘age|D.99 Page 99 of 99

UNITED STATES
DISTRICT COURT
SOUTHERN DISTRICT OF CALIFURNlA
SAN DlEGO DIVISIDN

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August 09, 2007 l
10:34:46

Civ Fil Non~PriS 1
USAU #.: CIVIL FlLING 07CV1567 4 3
Judge..: RUGER T BENITEZ §
1 Amount.: $350.00 CK
Check$.: PC 97 `

Total_> $350.00 l

FROH: BURROWS V. URCHID ISLAND TRS,
ClVIL FILING

 

